     Case 3:21-cv-07559-WHA           Document 211   Filed 07/08/22   Page 1 of 74



 1   CLEMENT SETH ROBERTS (STATE BAR NO. 209203)
     croberts@orrick.com
 2   BAS DE BLANK (STATE BAR NO. 191487)
     basdeblank@orrick.com
 3   ALYSSA CARIDIS (STATE BAR NO. 260103)
     acaridis@orrick.com
 4   EVAN D. BREWER (STATE BAR NO. 304411)
     ebrewer@orrick.com
 5   ORRICK, HERRINGTON & SUTCLIFFE LLP
     The Orrick Building
 6   405 Howard Street
     San Francisco, CA 94105-2669
 7   Telephone:    +1 415 773 5700
     Facsimile:    +1 415 773 5759
 8
     SEAN M. SULLIVAN (admitted pro hac vice)
 9   sullivan@ls3ip.com
     RORY P. SHEA (admitted pro hac vice)
10   shea@ls3ip.com
     J. DAN SMITH, III (admitted pro hac vice)
11   smith@ls3ip.com
     COLE RICHTER (admitted pro hac vice)
12   richter@ls3ip.com
     MICHAEL P. BOYEA (admitted pro hac vice)
13   boyea@ls3ip.com
     JAE Y. PAK (admitted pro hac vice)
14   pak@ls3ip.com
     LEE SULLIVAN SHEA & SMITH LLP
15   656 W Randolph St., Floor 5W
     Chicago, IL 60661
16   Telephone:     +1 312 754 0002
     Facsimile:     +1 312 754 0003
17
     Attorneys for Plaintiff Sonos, Inc.
18

19
20                                   UNITED STATES DISTRICT COURT

21                              NORTHERN DISTRICT OF CALIFORNIA

22   SONOS, INC.,                                     Case No. 3:21-cv-07559-WHA
23                      Plaintiff,                    SONOS, INC.’S
                                                      THIRD AMENDED COMPLAINT
24          v.
                                                      DEMAND FOR JURY TRIAL
25   GOOGLE LLC,
                                                     Judge: Honorable William Alsup
26                      Defendant.
27

28

                                                                 SONOS’S THIRD AMENDED COMPLAINT
                                                                      CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA          Document 211         Filed 07/08/22     Page 2 of 74



 1                                             COMPLAINT

 2          Plaintiff Sonos, Inc. (“Sonos” or “Plaintiff”) hereby asserts claims for infringement of

 3   United States Patent Nos. 9,967,615; 10,779,033; 10,469,966; and 10,848,885 (the “patents-in-

 4   suit” or “asserted patents”); attached hereto as Exhibits A-D, respectively) against Defendant

 5   Google LLC (“Google” or “Defendant”), and alleges as follows:

 6                                           INTRODUCTION

 7          1.      Sonos is an American success story. It was founded in 2002 in Santa Barbara,

 8   California by a handful of engineers and entrepreneurs with a vision to invent the world’s first

 9   wireless, whole-home audio system. At the time, popular audio systems were dependent on a
10   centralized receiver hard-wired to each individual passive speaker throughout a home. Further,

11   most homes with Internet access had dial-up connections, the iPhone was still five years away,

12   and there were no streaming music services. The technological barriers confronting Sonos were

13   enormous.

14          2.      To deliver on its vision, the Sonos team completely reimagined the in-home music

15   system as a decentralized network of smart playback devices, and it developed a platform that

16   could seamlessly and wirelessly distribute audio room by room or throughout the home at the

17   user’s discretion. Sonos created a “choose what to play, where to play it, and how loud” wireless

18   audio system that could not only perform without lag (e.g., buffering or network interruptions)

19   but that was also so simple and intuitive that customers would make it part of their daily lives.
20          3.      Commercial success did not come easy for Sonos as its vision was in many ways

21   ahead of its time. But year by year, consumers – and the entire industry – came to appreciate that

22   wireless multi-room audio devices and systems could not only work, but could become an

23   essential part of the listening experience. Success required staying true to Sonos’s disruptive

24   vision, continuing to innovate while adjacent industries caught up and customers became more

25   and more enamored with the idea of Sonos as they had the chance to encounter and use its

26   products. Once Sonos had taken all the risks and placed enormous bets on research and

27   development, the “first followers” began to copy Sonos’s innovations.

28

                                                                           SONOS’S THIRD AMENDED COMPLAINT
                                                      1                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211        Filed 07/08/22     Page 3 of 74



 1          4.      To this day, Sonos remains focused on innovations that further enhance the

 2   listening experience. Sonos invests heavily in research and development and, as a result,

 3   frequently invents new systems with new technologies, enhanced functionality, improved sound

 4   quality, and an enriched user experience.

 5          5.      As a result, Sonos has become one of the world’s leading providers of innovative

 6   audio products. In recognition of its wide-ranging innovations, the U.S. Patent & Trademark

 7   Office has granted or allowed Sonos more than 940 U.S. patents, including the patents-in-suit,

 8   with hundreds more patents in other countries. The innovations captured by these patents cover

 9   many important aspects of wireless multi-room audio devices/systems, including, for example,
10   how to manage and control groups of playback devices, how to facilitate seamless control and

11   transfer of audio playback among devices, and how to output amazing sound quality.

12          6.      The industry has recognized the importance of Sonos’s patents. For example,

13   Sonos earned a spot on the IPO list of “Top 300 Organizations Granted U.S. Patents” and the

14   IEEE recognized Sonos as having one of “[t]he technology world’s most valuable patent

15   portfolios.” See Exs. E and F.

16          7.      Sonos launched its first commercial products in 2005 and has since released a wide

17   variety of critically acclaimed, patented, wireless multi-room audio products, including, for

18   example, the Play:1, Play:3, Play:5 (Gen 1 and Gen 2), One (Gen 1 and Gen 2), One SL, Move,

19   Playbar, Playbase, Beam, Sub, Connect, Port, Connect:Amp, Amp, Five, and Arc. See, e.g.,
20   Ex. G. Sonos’s products can be set up and controlled by the Sonos app. Id.

21          8.      Sonos’s efforts have made it incredibly popular with its customers. Sonos

22   estimates that in fiscal year 2019 Sonos’s customers listened to 7.7 billion hours of audio content

23   using its products. And, as of September, 2019, almost two thirds of Sonos households had

24   purchased and installed more than one Sonos product.

25          9.      Sonos’s record of innovation has made it the undisputed leader in what has come

26   to be called the “multiroom audio” field. See, e.g., Ex. H (2018 Digital Trends: “Sonos is the

27   king of multiroom audio….”); Ex. I (2019 What Hi-Fi: “[N]o multi-room offering is as complete

28   or as pleasurable to live with as Sonos.”).

                                                                           SONOS’S THIRD AMENDED COMPLAINT
                                                      2                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA          Document 211         Filed 07/08/22     Page 4 of 74



 1          10.     Sonos has already sued Google for infringing patents on its first group of

 2   inventions involving the set-up, control, playback, and synchronization of wireless playback

 3   devices. This case involves a second group of inventions which, as described more extensively

 4   below, tackle the novel technological challenges of how to transfer playback of a stream of music

 5   provided by a cloud-based service from one device to another and how to create, manage, and

 6   invoke “zone scenes” to configure how multiple playback devices work together.

 7                                 GOOGLE BEGINS INFRINGING

 8          11.     Almost a decade after Sonos created the smart-speaker market, Google entered the

 9   space. Initially, Google sought to work with Sonos and, through those efforts, gained access to
10   Sonos’s engineers, products, and technology. All too quickly, however, Google shifted focus and

11   began to develop and sell products that copied Sonos’s technology and infringed Sonos’s patents.

12          12.     Part of what makes Sonos so successful is that, through its application, Sonos is

13   compatible with many different third-party music streaming services. When Google publicly

14   launched its own streaming music service – Google Play Music – in late 2011, Sonos worked

15   with Google to integrate the Google Play Music service into the Sonos ecosystem. As a result,

16   Google Play Music launched on the Sonos platform in 2014. See, e.g., Ex. J.

17          13.     This should have benefited everyone: Sonos’s customers gained access to another

18   streaming service and Google Play Music users gained access to Sonos’s devices. But as the

19   press recognized at the time, Sonos’s integration work with Google was especially “deep” and
20   therefore gave Google a wide aperture through which to view Sonos’s proprietary technology. Id.

21   (2014 Wired: “This is the first time this sort of deep integration has happened between a third

22   party music service and Sonos.”). The copying soon followed.

23          14.     Just eighteen months later, in 2015, Google began willfully infringing Sonos’s

24   patents. On information and belief, Google used the knowledge it had gleaned from Sonos to

25   build and launch its first wireless multi-room audio product – Chromecast Audio.

26          15.     Google’s Chromecast Audio began what has turned into Google’s relentless effort

27   to copy Sonos and use Sonos’s patented technology. For example, although Google’s original

28   Chromecast Audio did not yet include Sonos’s patented multi-room audio functionality, even

                                                                           SONOS’S THIRD AMENDED COMPLAINT
                                                      3                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA          Document 211        Filed 07/08/22        Page 5 of 74



 1   when it was launched Google was working to add that Sonos-patented feature. See Ex. K (2015

 2   The Guardian: “Google is also working on multi-room audio streaming using the Chromecast

 3   Audio, but it will not support the popular feature out of the box.”). And, when Google added the

 4   infringing feature, the press immediately noted how this “major feature update” made Google’s

 5   product even more “like the ones made by Sonos:”

 6                  Google’s recently-launched Chromecast Audio adapter is getting a
                    major feature update this week: Consumers will now be able to group
 7                  multiple Chromecast audio adapters to stream their favorite music
                    simultaneously in more than one room, similar to the multi-room
 8                  support available for internet-connected loudspeakers like the ones
                    made by Sonos.
 9
10   Ex. L (2015 Variety article entitled “Google’s Chromecast Audio Adapter Gets Multi-Room

11   Support Similar to Sonos”); see also Ex. M (2015 Pocket-Lint) (“You control your Sonos

12   experience with one app. Well, thanks to a new software rollout, Chromecast Audio can pretty

13   much do the same thing.”).

14          16.     This has become a consistent pattern. Time and again, Google has added features

15   to its products that first appeared in Sonos’s products and which make use of Sonos’s patented

16   technology.

17    GOOGLE’S INFRINGEMENT ACCELERATES DESPITE CONTINUED NOTICE OF

18                                          INFRINGEMENT

19          17.     Since 2015, Google’s misappropriation of Sonos’s patented technology has
20   proliferated. Google has expanded its wireless multi-room audio system to more than a dozen

21   infringing products, including the Google Home Mini, Google Home, Google Home Max, and

22   Pixel phones, tablets, and laptops. And Google has persisted in infringing even though Sonos has

23   warned Google of its infringement on at least ten separate occasions dating back to 2016.

24          18.     For example, in 2016 (a year after Google launched the Chromecast Audio

25   wireless adapter), Google released the Google Home multi-room audio player (which was

26   controlled by Google’s rebranded multi-room controller app – the Google Home app). Unlike the

27   Chromecast Audio, the Google Home added an internal speaker driver making it an “all-in-one”

28   audio player akin to Sonos’s prior Play:1, Play:3, and Play:5 products.

                                                                          SONOS’S THIRD AMENDED COMPLAINT
                                                     4                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA          Document 211         Filed 07/08/22     Page 6 of 74



 1          19.     Sonos raised the issue of infringement as to these products with Google as early as

 2   August 2016. Sonos hoped that Google would respect Sonos’s intellectual property and the

 3   extensive work Sonos had put into inventing and developing its products. But Google did no

 4   such thing.

 5          20.     On September 2, 2016, Sonos sent John LaBarre and Allen Lo at Google a

 6   document identifying 24 issued Sonos patents and 4 allowed Sonos patent applications, including

 7   ones that share a respective common specification with the ’615 Patent, the ’966 Patent, the ’033

 8   Patent, and the ’885 Patent. Ex. BY.

 9          21.     On October 13, 2016, Sonos sent John LaBarre, Allen Lo, and Louis Sorell at
10   Google a document identifying 22 issued Sonos patents and 6 allowed Sonos patent applications

11   (including ones that share a respective common specification with the ’615 Patent, the ’966

12   Patent, the ’033 Patent, and the ’885 Patent) and identifying relevant Google products for each.

13   Ex. BZ.

14          22.     On October 26, 2016, Sonos sent John LaBarre at Google a PowerPoint

15   presentation identifying 29 issued Sonos patents and 3 allowed Sonos patent applications

16   (including ones that share a respective common specification with the ’615 Patent, the ’966

17   Patent, the ’033 Patent, and the ’885 Patent). Ex. CA.

18          23.     On January 31, 2018, Sonos sent Matthew Gubiotti at Google a PowerPoint

19   presentation identifying 16 issued Sonos patents and 1 allowed Sonos patent application
20   (including ones that share a common specification with the ’966 Patent and the ’885 Patent), and

21   identifying relevant Google products for each, including products accused in this case. Ex. CB.

22          24.     On July 12, 2018, Sonos sent John LaBarre and Matthew Gubiotti at Google a

23   document identifying 58 issued Sonos patents (including ones that share a respective common

24   specification with the ’615 Patent, the ’966 Patent, the ’033 Patent, and the ’885 Patent) and

25   identifying relevant Google products for each, including products accused in this case. Ex. CC.

26          25.     On February 22, 2019, Sonos sent Matthew Gubiotti, Bradley Riel, and Tim

27   Kowalski at Google a letter enclosing a link to an electronic repository containing 100 claim

28   charts detailing Google’s infringement of 92 issued Sonos patents and 8 allowed Sonos patent

                                                                           SONOS’S THIRD AMENDED COMPLAINT
                                                      5                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211         Filed 07/08/22     Page 7 of 74



 1   applications (including the ’615 Patent and others that share a respective common specification

 2   with the ’615 Patent, the ’966 Patent, the ’033 Patent, and the ’885 Patent). Ex. CD.

 3             26.   On June 13, 2019, Sonos sent Bradley Riel and Tim Kowalski at Google a

 4   PowerPoint presentation reiterating the 100 claim charts detailing Google’s infringement of 92

 5   issued Sonos patents and 8 allowed Sonos patent applications sent on February 22, 2019 and

 6   identifying 6 issued Sonos patents (including one that shares a common specification with

 7   the ’966 Patent and the ’885 Patent) and identifying relevant Google products for each. Ex. CE.

 8             27.   On January 6, 2020, Sonos sent Bradley Riel and Tim Kowalski at Google a pre-

 9   filing copy of an International Trade Commission Complaint, a U.S. District Court complaint, and
10   claim charts detailing Google’s infringement of 5 issued Sonos patents via products that are also

11   accused in this case.

12             28.   On September 28, 2021, Sonos sent Bradley Riel and Tim Kowalski at Google a

13   pre-filing copy of Sonos’s complaint detailing Google’s infringement of, inter alia,

14   the ’615, ’033, and ’966 Patents.

15             29.   On January 8, 2021, Sonos’s counsel sent Google’s counsel a copy of an amended

16   complaint and supplemental infringement contentions detailing Google’s infringement of the ’885

17   Patent.

18             30.   These instances establish that Google was, over at least a five-year period, put on

19   repeated notice of Sonos’s patents and the breadth of Sonos’s patent portfolio concerning
20   specifically the products accused in this case. At a minimum, this knowledge and repeated and

21   persistent disclosure establishes that Google was, for some time periods, at least willfully blind to

22   the fact that the asserted patents existed and, for other time periods, had actual knowledge of the

23   existence of the asserted patents. Further, this knowledge and repeated and persistent disclosure

24   establishes that Google, for some time periods, had at least failed to investigate whether it

25   infringed the asserted patents despite the existence of a high risk of infringement and, for other

26   time periods, had actual knowledge of a credible and specific allegation of infringement of the

27   asserted patents. In this way, Google was or at least should have been aware of each of the

28

                                                                            SONOS’S THIRD AMENDED COMPLAINT
                                                       6                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211         Filed 07/08/22     Page 8 of 74



 1   asserted patents starting from at least their respective dates of issuance and of its infringement

 2   thereof.

 3          31.     Despite this consistent and repeated notice, Google did not stop infringing.

 4   Instead, it doubled down and introduced new infringing products, making use of even more

 5   patented technology from Sonos.

 6          32.     For example, in 2017, eight years after Sonos introduced its first all-in-one audio

 7   player – the Play:5 – Google released its first all-in-one audio players – the Google Home Max

 8   and the Google Home Mini. Google’s Home Max in particular was seen as a “Sonos Clone” and

 9   a “not-so-subtle copy of the [Sonos] Play:5 speaker…” Ex. N. As explained by Gizmodo, “[i]t’s
10   also hard not to see the [Google Home Max] device as something of a jab at Sonos.” Id.; see

11   also, e.g., Ex. O (2017 Android Central: “You can’t help but look at Google Home Max… and

12   come to the conclusion that Google is sticking its nose where Sonos has been for years.”).

13          33.     Then again, in February 2019, Sonos put Google on notice of infringement of 100

14   Sonos patents, including asserted United States Patent No. 9,967,615.

15          34.     Nothing Sonos did, however, deterred Google from expanding its infringement.

16   Google’s infringing product line now includes at least the Chromecast, Chromecast Ultra,

17   Chromecast Audio, Chromecast with Google TV, Home Mini, Nest Mini, Home, Home Max,

18   Home Hub, Nest Hub, Nest Hub Max, Nest Audio, and Nest Wifi Point (individually or

19   collectively, “Google Audio Player(s)” or “Cast-enabled media player(s)”), all of which can be
20   controlled by, for example, the YouTube Music app, the Google Play Music app, the YouTube

21   app, and the Google Home app (individually or collectively, “Google App(s)”). See, e.g., Exs. P-

22   Z.

23          35.     In addition to providing the Google Apps for controlling the Google Audio

24   Players, Google also offers various infringing hardware controllers that are pre-installed with the

25   Google Play Music app, YouTube app, and/or YouTube Music app (and capable of downloading

26   and executing the Google Apps that are not pre-installed). These infringing hardware controllers

27   include, for example, Google’s “Pixel” phones, tablets, and laptops (e.g., the Pixel 3, Pixel 3 XL,

28   Pixel 3a, Pixel 3a XL, Pixel 4, Pixel 4 XL, and Pixel 4a phones, the Pixel Slate tablet, and the

                                                                            SONOS’S THIRD AMENDED COMPLAINT
                                                       7                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA          Document 211         Filed 07/08/22     Page 9 of 74



 1   Pixelbook and Pixelbook Go laptops) (individually or collectively, “Google Pixel Device(s)”).

 2   See, e.g., Exs. AA-AE.

 3          36.     Herein, “Google Wireless Audio System” refers to one or more Google Audio

 4   Players, one or more Google Pixel Devices, and/or one or more Google Apps.

 5          37.     In order to hold Google accountable for its willful infringement of Sonos’s patents,

 6   Sonos filed a complaint in January 2020 asking the United States International Trade Commission

 7   (“ITC”) to institute an investigation into Google’s unlawful importation into and sale in the

 8   United States of infringing products. The ITC instituted an investigation, In re Certain Audio

 9   Players and Controllers, Components Thereof, and Products Containing Same, Inv. No. 337-TA-
10   1191, to determine whether Google’s audio players and controllers infringe five Sonos patents

11   directed to fundamental features such as playing music on multiple speakers in synchrony,

12   playing music in stereo over two or more players, a controller that can easily setup a player on a

13   wireless network, and playback-control features such as controlling both the volume of individual

14   speakers and a group of speakers.

15          38.     While the ITC Investigation has been pending, Google has continued to increase

16   its infringement. For example, press reports indicate that Google is introducing new products and

17   changes that mean Google is “one step closer to replacing your Sonos system.” Ex. AF; see also

18   Ex. AP (“The new functionality appears to be the most direct challenge to the likes of Sonos,

19   which has enjoyed enormous success by creating a series of connected speakers and soundbars
20   that can play music simultaneously – or individually.”). The press has similarly noted that

21   Google’s new speaker “could be a new rival for the likes of the Sonos One, the best smart speaker

22   you can buy in 2020.” Ex. AG; see also Ex. AP (“Just like Sonos, you can also change the

23   volume on each speaker individually from the main interface.”). And press reports indicate that

24   Google has expanded its use of Sonos’s stereo pair technology into the new smart-speakers even

25   though Google is currently being sued for infringing a Sonos patent on this technology. Exs. AH,

26   AP.

27          39.     Google itself has also highlighted the importance of its use of Sonos’s technology.

28   For example, Google’s Chris Chan publicly stated that “[c]ontrolling the audio throughout my

                                                                           SONOS’S THIRD AMENDED COMPLAINT
                                                      8                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA            Document 211           Filed 07/08/22     Page 10 of 74



 1    home, no matter who’s listening, has been incredibly helpful” and that “[t]oday, we’re expanding

 2    that control. You can already manually group Nest devices in order to play the same music on

 3    various speakers at the same time, and now we’re launching multi-room control so you can

 4    dynamically group multiple cast-enabled Nest devices (speakers, Smart Displays, Chromecasts)

 5    in real-time to fill multiple rooms with music.” Ex. AH; see also Ex. AP. Again, Google has

 6    expanded its use of this technology while it is being sued for infringing Sonos’s patents on this

 7    precise technology.

 8            40.     Google’s aggressive and deliberate expansion of its use of Sonos’s patented

 9    technology has led observers to conclude that “[n]o market is safe from [the] search engine
10    monster” and that Google was specifically “offering new products to compete with Sonos in the

11    music streaming market.” See Ex. AI.

12                  GOOGLE’S CONTINUED INFRINGEMENT FORCES THIS SUIT

13            41.     In the face of Google’s unrelenting infringement, Sonos has no choice but to bring

14    this suit. In this action, Sonos asserts patents that are not at issue in the ITC or the related district

15    court action.

16            42.     Sonos’s ITC suit addressed Google’s infringement of Sonos patents covering

17    fundamental aspects of wireless, whole-home audio systems. While groundbreaking, those

18    patents represent only some of Sonos’s ongoing innovation from its inception to today. Through

19    its foresight, substantial investment, and relentless pursuit of excellence, Sonos built on its
20    previous success and invented a number of key features consumers have grown to expect and

21    demand in streaming music listening.

22            43.     For example, as explained more fully below, Sonos’s U.S. Patent Nos. 9,967,615

23    and 10,779,033 (the “’615 Patent” and the “’033 Patent,” respectively) cover key aspects of

24    Sonos’s inventive approach for streaming music from a cloud-based service to a media playback

25    system, including technology for transferring playback responsibility for a cloud-based stream of

26    media content from a user’s device, such as a smart phone, to a media playback system that is

27    then configured to retrieve and play back the cloud-based media content.

28

                                                                               SONOS’S THIRD AMENDED COMPLAINT
                                                          9                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22    Page 11 of 74



 1           44.     Sonos was well ahead of the field when it began to develop these inventions in

 2    2011. At that time, Sonos’s audio system, including its smart-phone app controller, was in a

 3    category all its own. Moreover, streaming content from cloud-based media services for playback

 4    by computers – let alone other types of networked devices like smart phones and smart speakers –

 5    was in its infancy. Nonetheless, at a time years before Google released its first Chromecast

 6    product, Sonos envisioned a novel experience of continuous and intuitive control of a user’s

 7    entire streaming listening experience, across multiple networked devices, including smart phones

 8    and/or smart speakers. That vision gave rise to the innovation of technology for enabling

 9    seamless transition of playback responsibility for cloud-based media content between different
10    networked devices, such as a smart phone and a smart speaker. This paradigm is now

11    fundamental across the entire streaming industry as user expectations of continuous listening

12    experiences have continued to converge with Sonos’s vision.

13           45.     Similarly, Sonos’s U.S. Patent Nos. 10,469,966 and 10,848,885 (the “’966 Patent”

14    and “the ’885 Patent,” respectively) cover some of Sonos’s inventions related to creating,

15    managing, and invoking “zone scenes” to configure how multiple players work together. With

16    these patents, Sonos once again anticipated what consumers would want and invented a new

17    feature for its system. Using the inventions of the ’966 and ’885 Patents, playback devices can be

18    grouped together for synchronous playback in an easy and intuitive manner using “zone scenes.”

19    Advantageously, such a “zone scene” can be accessed and invoked by multiple devices and in
20    various ways (e.g., by voice) even when the particular controller that created the “zone scene” is

21    not on the network.

22           46.     Sonos provided a pre-filing copy of both the original complaint and Sonos’s First

23    Amended Complaint to Google, thereby providing clear pre-suit notice of infringement of the

24    patents-in-suit. Google, however, has never given any indication that it is willing to stop

25    infringing, and did not do so in response to receiving a draft of either the original complaint or the

26    First Amended Complaint.

27           47.     On information and belief, Google is unwilling to stop infringing because its

28    infringement of Sonos’s patented inventions has paved the way for Google to generate billions of

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       10                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22    Page 12 of 74



 1    dollars in revenue. A December 2018 market report by Royal Bank of Canada (“RBC”), for

 2    example, concluded that Google sold over 40 million Google Home devices in the U.S. and that

 3    Google generated $3.4 billion in Google Home revenue in 2018 alone. Ex. AJ at pp. 1, 4, 14-15.

 4    RBC also found that, as of August 2017, Google had sold more than 55 million Chromecast

 5    devices and that Google generated almost $1 billion in Chromecast revenue in 2018. Id. at 4,16,

 6    18. Further, RBC estimated that, in 2018, Google generated $3.4 billion in Pixel device revenue.

 7    Id. at 4, 8.

 8            48.    By 2021, RBC estimates that Google will be annually selling over 100 million

 9    Google Home devices in the U.S. and generating over $8 billion in Google Home revenue. Id. at
10    4, 14-15. In addition, by 2021, RBC estimates that Google will annually generate $2.4 billion in

11    Chromecast revenue and nearly $7 billion in Pixel device revenue. Id. at 4, 8, 18.

12            49.    The revenue obtained from the sale of Google’s hardware devices vastly

13    understates the value to Google of infringing Sonos’s patents. On information and belief, Google

14    is intentionally selling the infringing products at a discount and/or as a “loss leader” with the

15    expectation that this will allow Google to generate even more revenue in the future – e.g., by

16    powering Google’s continued dominance of the market for search advertising. In particular,

17    Google’s infringement of Sonos’s patented inventions has helped and/or will help Google

18    generate significant revenue from the use of Google’s hardware devices including advertising,

19    data collection, and search via the Google Wireless Audio Systems. As the New York Post
20    explained, “Amazon and Google both discounted their home speakers so deeply over the holidays

21    that they likely lost a few dollars per unit … hoping to lock in customers and profit from later

22    sales of goods and data about buying habits.” Ex. AK. Similarly, News Without Borders

23    explained that companies like Google are using their “smart speaker” devices as “‘loss leader[s]’

24    to support advertising or e-commerce.” Ex. AL.

25            50.    On information and belief, Google’s copying of Sonos’s patented inventions has

26    also helped and/or will help Google generate significant revenue from driving its users to make

27    purchases such as streaming music subscriptions and retail purchases via the Google Wireless

28    Audio Systems. For example, an NPR “smart speaker” survey found that 28% of survey

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        11                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22    Page 13 of 74



 1    respondents agreed that “[g]etting [a] Smart Speaker led [them] to pay for a music service

 2    subscription,” and Google offered at the time two such subscriptions – Google Play Music and

 3    YouTube Music. Ex. AM at p. 20. Likewise, the NPR survey also found that 26% of

 4    respondents use their smart speakers “regularly” to “add [items] to shopping list.” Id. at 14; see

 5    also, e.g., Ex. AL (stating that companies like Google are using their “smart speaker” devices as

 6    “‘loss leader[s]’ to support… e-commerce.”).

 7           51.     On information and belief, Google is willfully infringing Sonos’s patents as part of

 8    Google’s calculated strategy to vacuum up invaluable consumer data from users and, thus, further

 9    entrench the Google platform among its users and fuel its dominant advertising and search
10    platforms.

11           52.     Google’s infringement – and its strategy to sell its infringing products at a loss to

12    develop alternative revenue streams – has caused significant damage to Sonos. For example, the

13    Google Home Mini predatorily implemented Sonos’s valuable patented technology into an all-in-

14    one wireless multi-room product that Google sells at a highly subsidized price point or even gives

15    away for free. Ex. AN (“At $49, Google Home Mini works on its own or you can have a few

16    around the house, giving you the power of Google anywhere in your home.”); Ex. AL (“Google

17    partnered with Spotify to offer Home Minis as a free promotion for Spotify Premium customers.

18    Spotify’s premium userbase is nearly 90 million, so if even a fraction of users take the free offer,

19    a massive influx of Google smart speakers will enter the market.”).
20     ADDITIONAL FACTS ESTABLISH THAT GOOGLE’S INFRINGEMENT HAS BEEN

21                                 AND CONTINUES TO BE WILLFUL

22           53.     In addition to the facts above, additional facts establish that Google had actual

23    knowledge of the asserted patents and knowledge of its infringement thereof prior to the filing of

24    this amended complaint. To the extent required, Google had this prior knowledge with sufficient

25    time to assess the asserted patents and the accused products and decide whether to continue its

26    allegedly infringing activity or whether to cease.

27           54.     As mentioned above, on September 28, 2021, Sonos sent Bradley Riel and Tim

28    Kowalski at Google a pre-filing copy of a draft Sonos complaint detailing Google’s infringement

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       12                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA            Document 211           Filed 07/08/22    Page 14 of 74



 1    of, inter alia, the ’615, ’033, and ’966 Patents. And on January 8, 2021, Sonos’s counsel sent

 2    Google’s counsel a copy of an amended complaint and supplemental infringement contentions

 3    detailing Google’s infringement of the ’885 Patent.

 4           55.       Also on September 28, 2020, prior to Sonos’s commencement of the instant action

 5    on September 29, 2020, Google initiated a declaratory judgment (“DJ”) action in this Judicial

 6    District asking the Court for an affirmative ruling that, by way of Google’s making, using, selling,

 7    offering for sale, and/or importation of the accused products, Google does not infringe at least

 8    the ’615, ’033, and ’966 Patents. On February 4, 2022, Google amended this DJ action to include

 9    a request for the same relief as to the ’885 Patent.
10           56.       Google has represented to the Court and to Sonos that it had a Rule 11 basis to file

11    its DJ action.

12           57.       Federal Rule of Civil Procedure 11(b)(3) states:

13                     By presenting to the court a pleading, written motion, or other
                       paper—whether by signing, filing, submitting, or later advocating
14                     it—an attorney or unrepresented party certifies that to the best of the
                       person's knowledge, information, and belief, formed after an inquiry
15                     reasonable under the circumstances . . . the factual contentions have
                       evidentiary support or, if specifically so identified, will likely have
16                     evidentiary support after a reasonable opportunity for further
                       investigation or discovery.
17

18           58.       Thus, by presenting to the Court and signing Google’s DJ pleading on September

19    28, 2020, Google’s counsel represented that the factual contentions contained therein had
20    evidentiary support and were based on knowledge, information, and belief, formed after an

21    inquiry reasonable under the circumstances.

22           59.       In order to have conducted a sufficient investigation into whether or not the

23    accused products practiced the asserted patents for purposes of seeking affirmative declaratory

24    relief from this Court, Google and its counsel must have (i) conferred with Google engineers

25    concerning the operation of the accused products, (ii) reviewed the specifications, claims, and file

26    histories of the asserted patents, and (iii) compared the operation of the accused products to the

27    claims of the asserted patents and allegedly concluded that, for one or more reasons, the accused

28    products did not, according to Google, practice one or more elements of the asserted claims.

                                                                               SONOS’S THIRD AMENDED COMPLAINT
                                                         13                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22     Page 15 of 74



 1           60.     In order to have conducted this investigation and to have formed a reasonable

 2    belief as to Google’s alleged non-infringement of the asserted patents in time for its filing on

 3    September 28, 2020, Google was conducting its investigation days, weeks, or months prior to

 4    September 28, 2020. Accordingly, Google had pre-suit knowledge of the asserted patents and

 5    pre-suit knowledge of its infringement thereof well before September 28, 2020. This pre-suit

 6    knowledge was the result of Google’s own investigation that it conducted to support its DJ action.

 7           61.     In the alternative, and to the extent that Google first learned of the ’966 and ’033

 8    Patents on September 28, 2020 when Sonos provided a pre-filing draft Complaint to Google, and

 9    to the extent Google first learned of the ’885 Patent on January 8, 2021 when Sonos provided a
10    draft pre-filing amended Complaint and supplemental infringement contentions to Google, the

11    time between learning of the asserted patents and filing its DJ action was nevertheless a sufficient

12    time for Google to have conducted its investigation and thus learned of the asserted patents and

13    its alleged infringement thereof. Despite the difference between receiving Sonos’s notice and

14    filing its DJ action being mere hours (which illustrates the implausibility of Sonos’s letter being

15    the initial notice to Google), Google nevertheless took action right away to (i) confer with Google

16    engineers concerning the operation of the accused products, (ii) review the specifications, claims,

17    and file histories of the asserted patents, and (iii) compare the operation of the accused products

18    to the claims of the asserted patents and allegedly conclude that, for one or more reasons, the

19    accused products, according to Google, did not practice one or more elements of the asserted
20    claims. See Dkt. 27-3 at 3 (“[U]pon receiving Sonos’s letter, Google investigated Sonos’

21    allegations, determined that it had a Rule 11 basis for non-infringement, and filed the instant

22    declaratory judgment action.”). Accordingly, Google had pre-suit knowledge of the asserted

23    patents and pre-suit knowledge of its infringement thereof before Sonos initiated this suit on

24    September 29, 2020. This pre-suit knowledge was the result of both Sonos’s pre-suit draft

25    Complaint detailing Google’s infringement of the ’966, ’615, and ’033 Patents, as well as

26    Google’s own investigation that it conducted to support its DJ action.

27           62.     Moreover, because Google had sufficient time to prepare and file its DJ action,

28    Google also had time to take steps to begin avoiding infringement. However, on information and

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       14                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22    Page 16 of 74



 1    belief, Google took no such steps between the time that it learned of its infringement and filed its

 2    DJ action.

 3           63.     In either case, as a result of Google’s own investigation to support the factual

 4    allegations it levied in its DJ action, Google learned of the asserted patents and learned of its

 5    alleged infringement thereof. This investigation gave Google sufficient time to assess the

 6    asserted patents, assess the accused products, and determine whether it would cease its allegedly

 7    infringing activity. Rather than cease its infringing activity, switch to an alternate design, or

 8    request to Sonos that Google ought to be given more time to do the above, Google chose to

 9    continue to make, use, sell, offer for sale, and import the accused products and thus, to continue
10    its allegedly infringing activity, despite its knowledge of the asserted patents and its knowledge of

11    its alleged infringement thereof.

12           64.     Finally, Google’s infringement since the initial filing of this action on September

13    29, 2020 has been willful. Sonos’s initial complaint set forth detailed infringement allegations

14    demonstrating how each of the accused products meets each and every element of the asserted

15    claims. Over the course of the case, Sonos’s infringement allegations have only further

16    crystalized, as evidenced by the various infringement contentions that Sonos served Google with

17    on December 11, 2020, February 17, 2021, June 4, 2021, July 14, 2021, September 10, 2021,

18    October 21, 2021, January 20, 2022, February 7, 2022, March 2, 2022, and March 18, 2022.

19    These infringement contentions include citations to Google’s own documents demonstrating that
20    the products practice the claim elements. They also include pin-cites to Google’s source code

21    illustrating where and how the infringing functionality takes place, as well as narrative

22    descriptions of how the accused products engage in infringing functionality. When Google

23    advanced multiple different and conflicting constructions of certain claim terms, Sonos revised its

24    infringement contentions to illustrate how Google still infringed even under Google’s incorrect

25    interpretations of these claim terms. Despite this, Google has not changed the design or operation

26    of the accused products since these products were accused of practicing the asserted claims. On

27    information and belief, Google has not undertaken any effort to investigate or even attempt in

28

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        15                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA            Document 211           Filed 07/08/22     Page 17 of 74



 1    good faith to change the functionality of the accused products to a design that would arguably not

 2    infringe.

 3            65.      Nor has Google at any point to-date presented an articulable non-infringement or

 4    invalidity position. Sonos has asked for Google’s non-infringement positions via interrogatory.

 5    On September 7, 2021, Google answered only with a bald assertion that Sonos has not established

 6    infringement and, for each asserted independent claim, a conclusory statement that Google does

 7    not practice each and every claim element. Similarly, although a good faith belief in invalidity

 8    should not act as a defense to a claim of willful infringement, Google’s invalidity contentions

 9    served pursuant to the local patent rules of this Court contain no explanation of its alleged
10    invalidity positions. For instance, as Sonos has already pointed out to Google, Google’s prior art

11    charts are merely block quotes of large portions of its cited references with no explanation

12    whatsoever as to how or why the quoted portions meet the elements of the asserted claims,

13    especially under Google’s own constructions of various claim elements. Google has declined to

14    address these deficiencies even after Sonos pointed them out to Google. Accordingly, Google’s

15    infringement of the asserted patents has been and remains willful since at least the day this suit

16    began (and every day thereafter) because Google has no reasonable non-infringement or

17    invalidity defense.

18                                                THE PARTIES

19            66.      Sonos, Inc. is a Delaware corporation with its principal place of business at 614
20    Chapala Street, Santa Barbara, California 93101. Sonos is the owner of the patents-in-suit.

21    Sonos holds all substantial rights, title, and interest in and to the patents-in-suit.

22            67.      Google LLC is a Delaware limited liability corporation with its principal place of

23    business at 1600 Amphitheatre Parkway, Mountain View, CA 94043.

24            68.      Google LLC is one of the largest technology companies in the world and conducts

25    product development, engineering, sales, and online retail, search, and advertising operations in

26    this District.

27            69.      Google LLC directly and/or indirectly develops, designs, manufactures,

28    distributes, markets, offers to sell, sells, and/or imports the infringing Google Wireless Audio

                                                                               SONOS’S THIRD AMENDED COMPLAINT
                                                         16                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA            Document 211           Filed 07/08/22     Page 18 of 74



 1    System at issue in this litigation in/into the United States, including in this judicial district, and

 2    otherwise purposefully directs infringing activities to this District in connection with its Google

 3    Wireless Audio System.

 4                                      JURISDICTION AND VENUE

 5            70.      This action for patent infringement arises under the Patent Laws of the United

 6    States, 35 U.S.C. § 1 et. seq. This Court has original jurisdiction under 28 U.S.C. §§ 1331 and

 7    1338.

 8            71.      This Court has personal jurisdiction over Google because, pursuant to Fed. R. Civ.

 9    P. 11(b)(3), Google has: (1) availed itself of the rights and benefits of the laws of the State of
10    California, (2) transacted, conducted, and/or solicited business and engaged in a persistent course

11    of conduct in the State of California (and in this District), (3) derived substantial revenue from the

12    sales and/or use of products, such as the infringing Google Wireless Audio System, in the State of

13    California (and in this District), (4) purposefully directed activities (directly and/or through

14    intermediaries), such as shipping, distributing, offering for sale, selling, and/or advertising its

15    infringing Google Wireless Audio System, at residents of the State of California (and residents in

16    this District), (5) delivered its infringing Google Wireless Audio System into the stream of

17    commerce with the expectation that the Google Wireless Audio System will be used and/or

18    purchased by consumers, and (6) committed acts of patent infringement in the State of California

19    (and in this District).
20            72.      This Court also has personal jurisdiction over Google because it is registered to do

21    business in the State of California and has one or more regular and established places of business

22    in this judicial district.

23            73.      Venue is proper in this District under the provisions of 28 U.S.C. § 1400(b)

24    because, as noted above, Google has committed acts of infringement in this district and has one or

25    more regular and established places of business in this district.

26

27

28

                                                                               SONOS’S THIRD AMENDED COMPLAINT
                                                         17                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22    Page 19 of 74



 1                                         THE PATENTS-IN-SUIT

 2                                         U.S. Patent No. 9,967,615

 3           74.     Sonos is the owner of U.S. Patent No. 9,967,615 (the “’615 Patent”), entitled

 4    “Networked Music Playback,” which was duly and legally issued by the United States Patent and

 5    Trademark Office (“USPTO”) on May 8, 2018. A copy of the ’615 Patent, is attached hereto as

 6    Exhibit A.

 7           75.     The ’615 Patent relates generally to technology for facilitating transfer of playback

 8    responsibility from a user’s device to a media playback system.

 9           76.     The ’615 Patent recognized that “[t]echnological advancements have increased the
10    accessibility of music content, as well as other types of media….” ’615 Patent at 1:19-20. This

11    allowed users to access audio and video content over the Internet. Id. at 1:21-26.

12           77.     But, the ’615 Patent identified a particular problem and provided an

13    unconventional technological solution. Specifically, the patent recognized that “[w]ired or

14    wireless networks can be used to connect one or more multimedia playback devices for a home or

15    other location playback network (e.g., a home music system).” ’615 Patent at 1:66-2:2. This

16    means that “[m]usic and/or other multimedia content can be shared among devices and/or groups

17    of devices (also referred to herein as zones) associated with a playback network.” Id. at 2:6-9.

18    The ’615 Patent is directed to a method, tangible media, and controller that “facilitate streaming

19    or otherwise providing music from a music-playing application (e.g., browser-based application,
20    native music player, other multimedia application, and so on) to a multimedia content playback

21    (e.g., SonosTM) system.” Id. at 2:10-14.

22           78.     The ’615 Patent provides an unconventional technological solution to this

23    problem. For example, the ’615 Patent describes an “Example Controller” that “can be used to

24    facilitate the control of multi-media applications….” ’615 Patent at 9:8-14. “In particular, the

25    controller 500 is configured to facilitate a selection of a plurality of audio sources available on the

26    network and enable control of one or more zone players … through a wireless network interface

27    508.” Id. at 9:14-18. Further, the ’615 Patent describes embodiments that “enable a user to

28    stream music from a music-playing application (e.g., browser-based application, native music

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        18                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22     Page 20 of 74



 1    player, other multimedia application and so on) to a local multimedia content playback (e.g.,

 2    SonosTM) system.” ’615 Patent at 12:8-12. More specifically, the ’615 Patent teaches that while

 3    “a user listens to a third party music application (e.g., PandoraTM RhapsodyTM, SpotifyTM, and so

 4    on)” on a user device, such as the user’s “smart phone,” the user can “select[] an option to

 5    continue playing [the current] channel on her household music playback system (e.g., SonosTM),”

 6    which will cause the user’s “playback system” to “pick[] up from the same spot on the selected

 7    channel that was on her phone and output[] that content (e.g., that song) on speakers and/or other

 8    playback devices connected to the household playback system.” Id. at 12:44-53; see also id. at

 9    13:1-53.
10           79.     The ’615 Patent goes on to teach specific technology for facilitating this transfer of

11    playback responsibility from the user’s device to the user’s playback system. For instance,

12    the ’615 Patent teaches that one aspect of this technology involves causing data for retrieving

13    network-based media content (such as a uniform resource locator (URI)) to be passed to a

14    playback device in the playback system so that the playback device can “run on its own to fetch

15    the content” from a networked audio source, such as a “cloud” server that is accessible over the

16    Internet. Id. at 12:53-63; see also id. at 12:63-67 (describing that “[a] third party application can

17    open or utilize an application programming interface (API) to pass music to the household

18    playback system without tight coupling to that household playback system”); 15:47-16:19

19    (describing a “throw it over the wall” approach in which “a third party application provides a
20    multimedia playback device (e.g., a Sonos™ zone player (ZP)) with enough information about

21    content (e.g., an audio track) so that . . . the local playback system (e.g., SonosNet™) can directly

22    access a source of the content and . . . play the content directly off the network (e.g., the Internet)

23    or cloud,” where the “connection between the third-party application and the local playback

24    device (e.g., Sonos ZonePlayer™) can be direct over a local area network (LAN)” or “remote

25    through a proxy server in the cloud”); 16:53-17:4 (describing various embodiments for “queue

26    management” associated with the transfer of playback from a control device to a playback

27    system, including an embodiment where a “shared queue is provided between the local playback

28    system and the third party application to keep the local system and the application

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        19                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22    Page 21 of 74



 1    synchronized”). Further, the ’615 Patent teaches that another aspect of this technology involves

 2    transitioning the user’s device into a mode in which it functions to control the playback of the

 3    media content by the user’s playback system after the transfer. Id. at 16:20-42, 17:5-20. In this

 4    way, the technology taught by the ’615 Patent provides for intuitive and seamless transfer of

 5    playback responsibility from a user’s device to a media playback system.

 6           80.     In line with these teachings, the ’615 Patent claims devices, computer-readable

 7    media, and methods for facilitating transfer of playback responsibility from a user’s device to a

 8    media playback system.

 9           81.     For example, claim 13 of the ’615 Patent recites a non-transitory computer
10    readable storage medium including instructions for execution by a processor that, when executed,

11    cause a control device to perform various functions that facilitate transfer of playback

12    responsibility from the device to a media playback system. See ’615 Patent, claim 13. When the

13    instructions are executed, the control device is initially operable to (i) cause a graphical interface

14    to display a control interface including one or more transport controls to control playback by the

15    control device, (ii) identify playback devices connected to a local area network, (iii) cause the

16    graphical interface to display a selectable option for transferring playback from the control

17    device, and (iv) detect a set of inputs to transfer playback from the control device to a particular

18    playback device. Id. Additionally, the instructions configure the control device so that, after

19    detecting the set of inputs to transfer playback from the control device to the particular playback
20    device, the control device is operable to cause playback to be transferred from the control device

21    to the particular playback device by (a) causing one or more first cloud servers to add multimedia

22    content to a local playback queue on the particular playback device, wherein adding the

23    multimedia content to the local playback queue comprises the one or more first cloud servers

24    adding, to the local playback queue, one or more resource locators corresponding to respective

25    locations of the multimedia content at one or more second cloud servers of a streaming content

26    service, (b) causing playback at the control device to be stopped, and (c) modifying the one or

27    more transport controls of the control interface to control playback by the playback device. Id.

28    Additionally yet, the instructions configure the control device so that the control device is

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        20                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211             Filed 07/08/22    Page 22 of 74



 1    operable to cause the particular playback device to play back the multimedia content, which

 2    involves the particular playback device retrieving the multimedia content from one or more

 3    second cloud servers of a streaming content service and playing back the retrieved multimedia

 4    content. Id.

 5                                        U.S. Patent No. 10,779,033

 6           82.     Sonos is the owner of U.S. Patent No. 10,779,033 (the “’033 Patent”), entitled

 7    “Systems And Methods For Networked Music Playback,” which was duly and legally issued by

 8    the United States Patent and Trademark Office (“USPTO”) on September 15, 2020. A copy of

 9    the ’966 Patent, is attached hereto as Exhibit B.
10           83.     The ’033 Patent is related to the ’615 Patent in that they are both continuations of

11    application No. 13/341,237, filed on December 30, 2011, now U.S. Patent No. 9,654,821. Thus,

12    the ’033 and ’615 Patents share essentially the same specification. Sonos incorporates by

13    reference and re-alleges paragraphs 52-58 of this Amended Complaint as if fully set forth herein.

14           84.     Like the ’615 Patent, the ’033 Patent claims devices, computer-readable media,

15    and methods for facilitating transfer of playback responsibility from a user’s device to a media

16    playback system, which provide an unconventional solution to the technological problem

17    described in the ’615 Patent.

18           85.     For example, claim 1 of the ’033 Patent recites a computing device with specific

19    hardware configurations, including a non-transitory computer-readable medium that stores
20    program instruction that can be executed by the device’s processor(s). See ’033 Patent, claim 1.

21    When the instructions are executed, the computing device can initially operate in a first mode in

22    which it is configured for playback of a remote playback queue provided by a cloud-based

23    computing system associated with a cloud-based media service. Id. In that mode, the computing

24    device is operable to (i) display a representation of one or more playback devices in a media

25    playback system that are communicatively coupled to the computing device over a data network

26    and available to accept playback responsibility for the remote playback queue, and (ii) while

27    displaying the representation of the one or more playback devices, receive user input indicating a

28    selection of at least one given playback device from the one or more playback devices. Id.

                                                                                SONOS’S THIRD AMENDED COMPLAINT
                                                          21                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22    Page 23 of 74



 1    Additionally, the instructions configure the computing device so that, based on receiving the user

 2    input, the computing device is operable to transmit an instruction for the at least one given

 3    playback device to take over responsibility for playback of the remote playback queue from the

 4    computing device, wherein the instruction configures the at least one given playback device to

 5    (i) communicate with the cloud-based computing system in order to obtain data identifying a next

 6    one or more media items that are in the remote playback queue, (ii) use the obtained data to

 7    retrieve at least one media item in the remote playback queue from the cloud-based media

 8    service; and (iii) play back the retrieved at least one media item. Id. Additionally yet, the

 9    instructions configure the computing device so that the computing device is operable to detect an
10    indication that playback responsibility for the remote playback queue has been successfully

11    transferred from the computing device to the at least one given playback device, and then after

12    detecting the indication, transition from (a) the first mode in which the computing device is

13    configured for playback of the remote playback queue to (b) a second mode in which the

14    computing device is configured to control the at least one given playback device’s playback of the

15    remote playback queue and the computing device is no longer configured for playback of the

16    remote playback queue. Id.

17                                        U.S. Patent No. 10,469,966

18           86.     Sonos is the owner of U.S. Patent No. 10,469,966 (the “’966 Patent”), entitled

19    “Zone Scene Management,” which was duly and legally issued by the United States Patent and
20    Trademark Office (“USPTO”) on November 5, 2019. A copy of the ’966 Patent, is attached

21    hereto as Exhibit C.

22           87.     The ’966 Patent relates generally to consumer electronics and human-computer

23    interaction and, more specifically, to controlling or manipulating a plurality of multimedia players

24    in a multi-zone system. See, e.g., ’966 Patent at 1:30-34.

25           88.     The ’966 Patent recognized that users demand not only quality audio reproduction

26    but also a system that allows multiple players to access music from different sources. ’966 Patent

27    at 1:35-45. Before the ’966 Patent, a conventional multi-zone audio system might include a

28    number of audio sources, but each audio source had to be connected to its own amplifier and a set

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       22                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA          Document 211           Filed 07/08/22    Page 24 of 74



 1    of speakers and was typically installed in one place. Id. at 1:46-50. This had inherent limitations.

 2    “In order to play an audio source at one location, the audio source must be provided locally or

 3    from a centralized location. When the audio source is provided locally, the multi-zone audio

 4    system functions as a collection of many stereo systems, making source sharing difficult. When

 5    the audio source is provided centrally, the centralized location may include a juke box, many

 6    compact discs, an AM or FM radio, tapes, or others. To send an audio source to an audio player

 7    demanding such source, a cross-bar type of device is used to prevent the audio source from going

 8    to other audio players that may be playing other audio sources.” Id. at 1:50-61.

 9           89.     Moreover, as the ’966 Patent recognized, “[i]n order to achieve playing different
10    audio sources in different audio players, the traditional multi-zone audio system is generally

11    either hard-wired or controlled by a pre-configured and pre-programmed controller.” ’966 Patent

12    at 1:62-65. Such a system created problems. “While the pre-programmed configuration may be

13    satisfactory in one situation, it may not be suitable for another situation. For example, a person

14    would like to listen to broadcast news from his/her favorite radio station in a bedroom, a

15    bathroom and a den while preparing to go to work in the morning. The same person may wish to

16    listen in the den and the living room to music from a compact disc in the evening. In order to

17    satisfy such requirements, two groups of audio players must be established. In the morning, the

18    audio players in the bedroom, the bathroom and the den need to be grouped for the broadcast

19    news. In the evening, the audio players in the den and the living room are grouped for the music.
20    Over the weekend, the audio players in the den, the living room, and a kitchen are grouped for

21    party music. Because the morning group, the evening group and the weekend group contain the

22    den, it can be difficult for the traditional system to accommodate the requirement of dynamically

23    managing the ad hoc creation and deletion of groups.” Id. at 1:65-2:17.

24           90.     Thus, the ’966 Patent recognized “a need for dynamic control of the audio players

25    as a group” and a system in which “the audio players may be readily grouped.” ’966 Patent at

26    2:11-13. The invention of the ’966 Patent would, thus, overcome the problems “in a traditional

27    multi-zone audio system [where] the audio players have to be adjusted one at a time, resulting in

28    an inconvenient and non-homogenous audio environment.” Id. at 2:18-20.

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       23                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA            Document 211         Filed 07/08/22    Page 25 of 74



 1           91.       The ’966 Patent provided an unconventional solution to this technological

 2    problem. “In general, the present invention pertains to controlling a plurality of multimedia

 3    players, or simply players, in groups.” ’966 Patent at 2:36-37. One specific aspect of the

 4    grouping technology that is taught by the ’966 Patent involves a controller with a user interface

 5    that permits a user to configure and save a “zone scene,” which may comprise a “predefined”

 6    grouping of zone players that can later be “activated” (or “invoked”) in order to group the zone

 7    players in the “zone scene” together for synchronous playback. Id. at 2:38-61, 3:1-12, 8:42-

 8    11:11. The ’966 Patent explains that this “zone scene” technology for grouping zone players

 9    together for synchronous playback provides improvements over the existing technology for
10    grouping zone players together for synchronous playback, which involved defining the group

11    membership at the time that the group was to be invoked – particularly in situations where a

12    larger number of zone players are to be grouped together for synchronous playback. Id. at 8:42-

13    9:15. For instance, the benefits highlighted by the ’966 Patent include (i) allowing a group of

14    zone players to be “predefined” as part of a “zone scene” so that the group’s membership need

15    not be defined at the time that the group is to be invoked, (ii) allowing a predefined group to be

16    invoked without requiring the zone players in the group to be separated from other groups

17    beforehand, and (iii) allowing zone players to exist as part of multiple different predefined groups

18    that can be invoked in order to dynamically group the zone players for synchronous playback. Id.

19    at 8:42-11:11.
20           92.       In line with these teachings, the ’966 Patent claims devices, computer-readable

21    media, and methods for managing and using “zone scenes” to facilitate grouping of zone players,

22    which provides an unconventional solution to the technological problems related to grouping

23    zone players that are described in the ’966 Patent.

24           93.       For example, claim 1 of the ’966 Patent describes a computing device with a

25    processor that can execute instructions stored in the computing device’s non-transitory, computer

26    readable medium. Those instructions, when executed, cause the computing device to be operable

27    to (i) receive a first request to create a first zone scene comprising a first predetermined grouping

28    of zone players that are to be configured for synchronous playback when the first zone scene is

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       24                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22     Page 26 of 74



 1    invoked, and (ii) based on the first request, cause creation of the first zone scene, cause an

 2    indication of the first zone scene to be transmitted to a first zone player in the first zone scene,

 3    and cause storage of the first zone scene. See, e.g., ’966 Patent, claim 1. Additionally, the

 4    instructions, when executed, cause the computing device to be operable to (i) receive a second

 5    request to create a second zone scene comprising the first zone player and at least one other zone

 6    player that is not in the first zone scene, and (ii) based on the second request, cause creation of the

 7    second zone scene, cause an indication of the second zone scene to be transmitted to the first zone

 8    player, and cause storage of the second zone scene. Id. Additionally yet, the instructions, when

 9    executed, cause the computing device to be operable to (i) display representations of the first and
10    second zone scenes, (ii) while displaying the representations, receive a third request to invoke the

11    first zone scene, and (iii) based on the third request, cause the first zone player to transition from

12    operating in a standalone mode to operating in accordance with the first predefined grouping of

13    zone players so that the first zone player is configured to coordinate with at least the second zone

14    player to output media in synchrony with output of media by at least the second zone player. Id.

15                                         U.S. Patent No. 10,848,885

16           94.     Sonos is the owner of U.S. Patent No. 10,848,885 (the “’885 Patent”), entitled

17    “Zone Scene Management,” which was duly and legally issued by the United States Patent and

18    Trademark Office (“USPTO”) on November 24, 2020. A copy of the ’885 Patent, is attached

19    hereto as Exhibit D.
20           95.     The ’885 Patent is related to the ’966 Patent in that they are both continuations of

21    application No. 13/896,829, filed on May 17, 2013, now U.S. Patent No. 8,843,228. Thus,

22    the ’885 and ’966 Patents share essentially the same specification. Sonos incorporates by

23    reference and re-alleges paragraphs 87-91 of this Amended Complaint as if fully set forth herein.

24           96.     The ’885 Patent claims devices, computer-readable media, and methods for

25    managing and operating in accordance with different “zone scenes,” which provides an

26    unconventional solution to the technological problems related to grouping zone players that are

27    described in the ’885 Patent.

28

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        25                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22    Page 27 of 74



 1           97.     For example, claim 1 of the ’885 Patent describes a first zone player with one or

 2    more processors that can execute instructions stored in the first zone player’s non-transitory,

 3    computer-readable medium. Those instructions, when executed, cause the first zone player to be

 4    operable to, while operating in a standalone mode, (i) receive a first indication that the first zone

 5    player has been added to a first zone scene comprising a first predetermined grouping of zone

 6    players that are to be configured for synchronous playback when the first zone scene is invoked,

 7    and (ii) receive a second indication that the first zone player has been added to a second zone

 8    scene comprising the first zone player and at least one other zone player that is not in the first

 9    zone scene that are to be configured for synchronous playback when the second zone scene is
10    invoked. Id. Additionally, the instructions, when executed, cause the first zone player to

11    continue to operate in a standalone mode until one of the first and second zone scenes has been

12    selected for invocation. Id. Additionally yet, the instructions, when executed, cause the first zone

13    player to be operable to, (i) after one of the first or second zone scenes has been selected for

14    invocation, receive an instruction to operate in accordance with the given first or second zone

15    scene comprising a predefined grouping of zone player and (ii) based on the instruction, transition

16    from operating in a standalone mode to operating in accordance with the predefined grouping of

17    zone players so that the first zone player is configured to output media in synchrony with output

18    of media by at least one other zone player in the predefined grouping. Id.

19                    CLAIM I: INFRINGEMENT OF U.S. PATENT NO. 9,967,615
20           98.     Sonos incorporates by reference and re-alleges paragraphs 1-97 of this Amended

21    Complaint as if fully set forth herein.

22           99.     Google and/or users of the Google Wireless Audio System have directly infringed

23    (either literally or under the doctrine of equivalents) and continue to directly infringe one or more

24    of the claims of the ’615 Patent, in violation of 35 U.S.C. § 271(a), by making, using, offering for

25    sale, and/or selling the Google Wireless Audio System within the United States and/or importing

26    the Google Wireless Audio System into the United States without authority or license.

27           100.    In the course of this litigation, Sonos has served Google with infringement

28    contentions detailing Google’s infringement of the ’615 Patent. See Ex. CH; Ex. CI. In

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        26                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22    Page 28 of 74



 1    particular, as set forth in Sonos’s infringement contentions for the ’615 Patent, each of Google’s

 2    YouTube, YouTube Music, YouTube TV, YouTube Kids, and Google Play Music software apps

 3    (referred to in paragraphs 99-133 as “Cast-enabled apps”) includes a “Cast” feature, is installed

 4    on a computing device, and when so installed, programs and/or otherwise configures a computing

 5    device such that each limitation of at least one of the asserted claims of the ’615 Patent is

 6    satisfied. Indeed, any use of the Cast feature results in the performance of each function recited

 7    in at least one asserted claim of the ’615 Patent. As also set forth in Sonos’s infringement

 8    contentions for the ’615 Patent, each of Google’s Cast-enabled displays (e.g., Nest/Home Hub

 9    and Nest Hub Max products) is also installed with software that includes the “Cast” feature,
10    which further includes a “Stream Transfer” sub-feature, such that the Cast-enabled display is

11    programmed and/or otherwise configured to satisfy each limitation of at least one of the asserted

12    claims of the ’615 Patent. For the avoidance of doubt, Sonos incorporates herein by reference

13    under Rule 10(c) these infringement contentions for all purposes.

14           101.    In addition to providing Google with a claim chart detailing Google’s infringement

15    of the ’615 Patent on February 22, 2019, on September 28, 2020, Sonos provided Google with a

16    draft of the original complaint prior to its filing. That draft identified the ’615 Patent and

17    described how Google’s products infringed. Thus, Google had actual knowledge of Sonos’s

18    allegation that Google infringed claims of the ’615 Patent prior to Sonos filing this action.

19           102.    Additionally and/or alternatively, Google has indirectly infringed and continues to
20    indirectly infringe one or more of the claims of the ’615 Patent, in violation of 35 U.S.C.

21    § 271(b), by actively inducing users of the Google Wireless Audio System to directly infringe the

22    one or more claims of the ’615 Patent. In particular, (a) Google had actual knowledge of the ’615

23    Patent or was willfully blind to its existence prior to, and no later than, February 2019 and had

24    actual knowledge or was willfully blind to Sonos’s infringement allegations at least as early as

25    September 28, 2020 when Sonos provided Google a copy of the complaint (see ¶¶ 19-29, above),

26    (b) Google intentionally causes, urges, or encourages users of the Google Wireless Audio System

27    to directly infringe one or more claims of the ’615 Patent by promoting, advertising, and

28    instructing customers and potential customers about the Google Wireless Audio System

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        27                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA          Document 211          Filed 07/08/22    Page 29 of 74



 1    (including uses thereof) and encouraging such customers and potential customers to engage in

 2    activity that constitutes direct infringement (see Exs. W-Z;), (c) Google has continued to

 3    intentionally cause, urge, or encourage users of the Google Wireless Audio System in such a

 4    manner both since becoming aware of the ’615 Patent and since Sonos told Google that such

 5    conduct was inducing infringement on September 28, 2020, (d) Google knows (or should know)

 6    and has known (or should have known) that its actions will induce users of the Google Wireless

 7    Audio System to directly infringe one or more claims the ’615 Patent, and (e) users of the Google

 8    Wireless Audio System directly infringe one or more claims of the ’615 Patent.

 9             103.   For instance, at a minimum, Google has supplied and continues to supply (i) the
10    YouTube, YouTube Music, YouTube TV, YouTube Kids, and Google Play Music software apps

11    and (ii) software (e.g., firmware and/or Cast-enabled apps) for installation onto Cast-enabled

12    displays to customers while knowing that installation and/or use of one or more of these software

13    packages will infringe one or more claims of the ’615 Patent and that Google’s customers then

14    directly infringe one or more claims of the ’615 Patent by installing and/or using one or more of

15    these software packages in accordance with Google’s product literature. See, e.g., id. In other

16    words, Google specifically intends to induce its customers to infringe the ’615 Patent by

17    intentionally encouraging and instructing its customers to install such software packages onto

18    their computing devices. Example evidence of such conduct includes:

19
20

21

22

23

24

25

26

27    Ex. Y.

28

                                                                            SONOS’S THIRD AMENDED COMPLAINT
                                                      28                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA   Document 211        Filed 07/08/22    Page 30 of 74



 1

 2

 3

 4

 5

 6

 7

 8    Ex. Z.

 9
10

11

12

13    Ex. CM.
14

15

16

17

18

19
20

21

22

23

24

25

26

27
      Ex. CS.
28

                                                                   SONOS’S THIRD AMENDED COMPLAINT
                                             29                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA         Document 211          Filed 07/08/22    Page 31 of 74



 1

 2

 3

 4

 5

 6    Ex. CN.

 7

 8

 9
10

11
      Ex. CO.
12
             104.   Moreover, example evidence of Google encouraging and instructing its customers
13
      to use the accused Cast feature included in the Cast-enabled apps in an infringing manner
14
      includes:
15

16

17

18

19
20

21

22

23

24

25    Ex. CP.
26           105.    Further yet, example evidence of Google encouraging and instructing its
27    customers to use the Stream Transfer feature in an infringing manner includes:
28

                                                                           SONOS’S THIRD AMENDED COMPLAINT
                                                     30                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA            Document 211          Filed 07/08/22    Page 32 of 74



 1

 2

 3

 4

 5

 6

 7

 8

 9
10    Ex. CQ.

11              106.   Google has continued to engage in the conduct described above by way of

12    example since it became aware of the ’615 Patent and since Sonos informed Google in Sonos’s

13    December 21, 2020 infringement contentions (and each subsequent instance of amended

14    infringement contentions) that such conduct was inducing others to directly infringe the ’615

15    Patent. Google chose not to cease its conduct despite this. Thus, Google has engaged in this

16    conduct with the specific intent to infringe the ’615 Patent because this conduct was expressly

17    intended to encourage users to download and install the YouTube, YouTube Music, YouTube

18    TV, YouTube Kids, and Google Play Music software apps and software (e.g., firmware and/or

19    Cast-enabled apps) for installation onto Cast-enabled displays, as well as use computing devices

20    installed with such software – the very actions that result in direct infringement of the ’615

21    Patent.

22              107.   Sonos has identified additional evidence of Google’s inducing conduct in its

23    infringement contentions and interrogatory responses, which Sonos incorporates herein by

24    reference under Rule 10(c) for all purposes. See Exs. CH, CW.

25              108.   Additionally and/or alternatively, Google has indirectly infringed and continues to

26    indirectly infringe one or more of the claims of the ’615 Patent, in violation of 35 U.S.C.

27    § 271(c), by offering to sell or selling within the United States, and/or importing into the United

28    States, components in connection with the Google Wireless Audio System that contribute to the


                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        31                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA          Document 211           Filed 07/08/22    Page 33 of 74



 1    direct infringement of the ’615 Patent by users of the Google Wireless Audio System. In

 2    particular, (a) Google had actual knowledge of the ’615 Patent or was willfully blind to its

 3    existence prior to, and no later than, February 2019 and had actual knowledge or was willfully

 4    blind to Sonos’s infringement allegations at least as early as September 28, 2020 when Sonos

 5    provided Google a copy of the complaint (see ¶¶ 17-30, 53-65, above), (b) Google offers for sale,

 6    sells, and/or imports, in connection with the Google Wireless Audio System, one or more material

 7    components of the invention of the ’615 Patent that are not staple articles of commerce suitable

 8    for substantial non-infringing use, (c) Google knows (or should know) that such component(s)

 9    were especially made or especially adapted for use in an infringement of the ’615 Patent, and
10    (d) users of devices that comprise such material component(s) directly infringe one or more

11    claims of the ’615 Patent. For instance, at a minimum, Google offers for sale, sells, and/or

12    imports (i) the YouTube, YouTube Music, YouTube TV, YouTube Kids, and Google Play Music

13    software apps for installation on devices (e.g., smartphones, tablets, and computers) and (ii)

14    software (e.g., firmware and/or Cast-enabled apps) for installation onto Cast-enabled displays that

15    meet one or more claims of the ’615 Patent. See, e.g., Exs. W-Z, CN, CS. Each of these pieces

16    of software is a material component of the devices that meet the one or more claims of the ’615

17    Patent. Further, Google especially made and/or adapted this software for installation and use on

18    devices that meet the one or more claims of the ’615 Patent, and each of these pieces of software

19    is not a staple article of commerce suitable for substantial non-infringing use. Google’s
20    customers then directly infringe one or more claims of the ’615 Patent by installing and/or using

21    this software on the customers’ devices.

22           109.    More specifically, Google supplies software components, such as the YouTube,

23    YouTube Music, YouTube TV, YouTube Kids, and Google Play Music software apps, that

24    include the accused Cast feature as part of Google’s own Cast-enabled apps for installation onto

25    computing devices in the United States and as part of Google’s own Cast-enabled software (e.g.,

26    firmware and/or Cast-enabled apps) for installation onto Cast-enabled displays in the United

27    States, and each time a user installs these software components, the user “makes” an infringing

28

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       32                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA            Document 211         Filed 07/08/22    Page 34 of 74



 1    device and thereby directly infringes the asserted claims of the ’615 Patent under 35 U.S.C. §

 2    271(a).

 3              110.   These software components are material components of infringing devices, such as

 4    computing devices provisioned with one or more Cast-enabled apps, and are not staple articles or

 5    commodities of commerce suitable for substantial non-infringing use because the only possible

 6    use for these software components is to be installed and run on infringing Cast-enabled

 7    computing devices and/or Cast-enabled displays. In other words, there is no other reasonable,

 8    suitable, or even conceivable use for these software components other than to be downloaded to

 9    and installed on computing devices, such as mobile phones or tablet computers. Because the
10    asserted claims are directed to capability and not actual use or performance, actual execution of

11    software functionality is not required. Infringement occurs as soon as the software component is

12    downloaded to and/or installed on the computing device. Thus, the fact that the computing device

13    may be capable of carrying out non-infringing functionality (in addition to being capable of

14    carrying out the claimed functionality) does not negate infringement and is not a non-infringing

15    use because infringement has already occurred as a result of the download and/or installation of

16    the software component onto the computing device.

17              111.   Along with its actual knowledge of the ’615 Patent, Google knew (or should have

18    known) that the software components were especially made or adapted for installation on

19    infringing devices and that installation of these software components by others resulted in (and
20    continues to result in) direct infringement of the ’615 Patent under 35 U.S.C. § 271(a) because

21    each such installation “makes” a device that meets every element of claims 13-15, 18-21, 23-26,

22    28-29 of the ’615 Patent.

23              112.   Additionally and/or alternatively, as discussed before, Google supplies software

24    component features, including the accused Cast feature as part of Google’s own Cast-enabled

25    apps for installation onto computing devices and the accused Cast and Stream Transfer features as

26    part of Google’s own Cast-enabled software for installation onto Cast-enabled displays, in the

27    United States via software downloads. These software component features are material

28    components of infringing devices and are not staple articles or commodities of commerce suitable

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       33                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22    Page 35 of 74



 1    for substantial non-infringing use because the only possible use for these software component

 2    features is to be operated on infringing Cast-enabled computing devices and/or Cast-enabled

 3    displays. For example, at a minimum, the use of the accused Cast feature results in the

 4    performance of each function recited in at least one asserted claim of the ’615 Patent. Along with

 5    its actual knowledge of the ’615 Patent, Google knew (or should have known) that the software

 6    component features were especially made or adapted to perform specific functions that are a

 7    material part of the inventions of the ’615 Patent and that use of these software component

 8    features by others resulted in (and continues to result in) direct infringement of the ’615 Patent

 9    under 35 U.S.C. § 271(a).
10           113.    Moreover, as a result of Google’s contributory conduct, others have directly

11    infringed the asserted claims of the ’615 Patent. For example, users have installed the supplied

12    software components for operating the accused Cast feature (which are included in Google’s own

13    Cast-enabled apps) onto Cast-enabled computing devices in the United States, thereby “making”

14    infringing devices. As another example, users have installed the supplied software components

15    for operating the accused Cast feature (which are included in firmware, as well as Cast-enabled

16    apps) onto Cast-enabled displays in the United States, thereby “making” updated Cast-enabled

17    displays that are infringing devices. As yet another example, after installing the supplied

18    software components onto Cast-enabled computing devices and Cast-enabled displays, users have

19    used these infringing devices, including the use of the accused Cast and Stream Transfer features,
20    which also constitutes direct infringement.

21           114.    Pursuant to 35 U.S.C. § 271(f)(1), Google has also infringed by supplying in or

22    from the United States software and/or firmware components, which constitute substantial

23    portions of the components of Sonos’s patented inventions, and actively, knowingly, and

24    intentionally induced (and continues to actively, knowingly, and intentionally induce) others

25    outside of the United States to combine these software and/or firmware components in a manner

26    that, if such combination would have occurred in the United States (as it does pursuant to the

27    theories set forth above), infringes the asserted claims of the ’615 Patent. And these

28    combinations by those outside of the United States do in fact occur. Accordingly, by supplying

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       34                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA            Document 211         Filed 07/08/22    Page 36 of 74



 1    such software and/or firmware components from the United States, Google is liable for

 2    infringement under 35 U.S.C. § 271(f)(1).

 3           115.       Despite knowing of the ’615 Patent, Google supplies software components for

 4    performing the accused functionality as part of Google’s own Cast-enabled apps (as well as the

 5    other apps identified in Sonos’s infringement contentions served in this case, see Exs. CH, CI) for

 6    installation onto computing devices and also as part of Google’s own cast-enabled software for

 7    installation onto Cast-enabled displays. These software and/or firmware components are at least

 8    substantial portions of the components of the patented inventions of the ’615 Patent. Google

 9    supplies these software and/or firmware components from the United States to various entities
10    outside the United States. Google then induces those entities to combine the supplied

11    components in a manner that would, if combined within the United States, constitute

12    infringement. Google has actively, knowingly, and intentionally induced (and continues to

13    actively, knowingly, and intentionally induce) these entities to make such combinations outside

14    the United States in various ways, in violation of 35 U.S.C. § 271(f)(1).

15           116.       For example, through Google’s website, advertising and promotional material,

16    user guides, and/or the Google Play Store, Google has actively, knowingly, and intentionally

17    encouraged and induced (and continues to actively, knowingly, and intentionally encourage and

18    induce) others outside the United States to install one or more of the Cast-enabled apps (including

19    YouTube Music, Google Play Music, and YouTube apps, as well as the other apps set forth in
20    Sonos’s infringement contentions, Exs. CH, CI) onto computing devices outside of the United

21    States. If this combination were done within the United States, that act would constitute

22    “mak[ing]” an infringing device, which constitutes direct infringement of claims 13-15, 18-21,

23    23-26, 28-29 of the ’615 Patent under 35 U.S.C. § 271(a). See, e.g., Ex. CM

24    (https://support.google.com/youtubemusic/answer/6313540?co=GENIE.Platform%3DDesktop&o

25    co=1, indicating that the YouTube Music app is available in dozens of countries other than the

26    United States).

27           117.       As another example, through Google’s website, advertising and promotional

28    material, user guides, and Cast-enabled apps, Google has actively, knowingly, and intentionally

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       35                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22     Page 37 of 74



 1    encouraged and induced (and continues to actively, knowingly, and intentionally encourage and

 2    induce) others outside the United States to install software (e.g., firmware updates and/or Cast-

 3    enabled apps) onto Cast-enabled displays outside of the United States. If this combination were

 4    done within the United States, that act would constitute “mak[ing]” an infringing device, which

 5    constitutes direct infringement of claims 13-15, 18-21, 23-26, 28-29 of the ’615 Patent under 35

 6    U.S.C. § 271(a).

 7           118.    As another example, through Google’s relationship with third-party manufacturers,

 8    third-party distributers, or via an otherwise affiliated entity that acts in a manufacturer or

 9    distributor role, Google actively, knowingly, and intentionally encourages and induces or
10    instructs such parties to install one or more of Cast-enabled apps (including YouTube Music,

11    Google Play Music, and YouTube apps) onto computing devices outside of the United States. If

12    this combination were done within the United States, that act would constitute “mak[ing]” an

13    infringing device, which constitutes direct infringement of claims 13-15, 18-21, 23-26, 28-29 of

14    the ’615 Patent under 35 U.S.C. § 271(a).

15           119.    On information and belief, Google engages in the same conduct set out above

16    (with respect to Google’s infringement under § 271(b)) in foreign countries and with the intent to

17    encourage users in foreign countries to download and install Cast-enabled apps onto computing

18    devices.

19           120.    As another example, through Google’s relationship with third-party manufacturers,
20    third-party distributers, or via an otherwise affiliated entity that acts in a manufacturer or

21    distributor role, Google actively, knowingly, and intentionally encourages and induces or

22    instructs such parties to install software (e.g., firmware updates and/or apps) onto Cast-enabled

23    displays outside of the United States. If this combination were done within the United States, that

24    act would constitute “mak[ing]” an infringing device, which constitutes direct infringement of

25    claims 13-15, 18-21, 23-26, 28-29 of the ’615 Patent under 35 U.S.C. § 271(a).

26           121.    As still another example, through Google’s relationship with entities (including

27    affiliated entities) that operate servers outside of the United States that host Cast-enabled apps

28    (including YouTube Music, Google Play Music, and YouTube apps, as well as the other apps set

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        36                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA          Document 211           Filed 07/08/22    Page 38 of 74



 1    forth in Sonos’s infringement contentions, Exs. CH, CI) for download onto computing devices

 2    and/or software (e.g., firmware and/or apps) for download onto Cast-enabled displays, Google

 3    actively, knowingly, and intentionally encourages and induces or instructs these entities to load,

 4    store, or otherwise provide the apps and/or software onto these servers. For instance, Google

 5    operates data centers and download servers in countless foreign countries and regions.

 6

 7

 8

 9
10

11

12

13

14

15

16    See Ex. CR (https://cloud.google.com/about/locations#regions). In at least these foreign countries

17    and regions, users are able to download Cast-enabled apps onto computing devices. To facilitate

18    this, Google has intentionally encouraged and induced or instructed other entities (including

19    Google’s affiliated entities) to upload software packages constituting the Cast-enabled apps onto

20    download servers that are located in foreign countries. If this combination were done within the

21    United States, that act would constitute direct infringement of certain asserted claims of the ’615

22    Patent (e.g., claims 13-15, 18-21, and 23-24 of the ’615 Patent) by “mak[ing]” and/or “us[ing]”

23    servers that host such software in violation of 35 U.S.C. § 271(a). See also Ex. CH (Sonos’s

24    infringement contentions).

25           122.    Pursuant to 35 U.S.C. § 271(f)(2), Google has also infringed by supplying

26    software components in or from the United Sates to be combined, installed, loaded, and/or used

27    by others outside of the United States, where these software components are components of the

28    patented inventions that have no substantial non-infringing use and are not staple articles or


                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       37                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22    Page 39 of 74



 1    commodities of commerce – with knowledge that these software components were especially

 2    made or adapted for use and an intent that these software components would be combined,

 3    installed, loaded, and/or used outside the United States such that, if such combination,

 4    installation, load, and/or use occurred within the United States (as it does pursuant to the theories

 5    set forth above), it would infringe the asserted claims of the ’615 Patent. And these combinations

 6    by those outside of the United States do in fact occur. Accordingly, by supplying such software

 7    components in or from the United States, Google is liable for infringement under 35 U.S.C. §

 8    271(f)(2).

 9           123.    Despite knowing of the ’615 Patent, Google supplies software components for
10    performing the accused Cast functionality as part of Google’s Cast-enabled apps (e.g., the

11    YouTube Music, Google Play Music, and YouTube apps) for installation onto computing devices

12    outside the United States and also as part of Google’s own software (e.g., firmware and/or Cast-

13    enabled apps) for installation onto Cast-enabled displays outside the United States. Google

14    intends that others outside the United States, including users, install these software components

15    onto computing devices and Cast-enabled displays and knows that such installation does in fact

16    occur and that such installation, if occurring in the United States, would constitute “mak[ing]” an

17    infringing device thereby directly infringing claims 13-15, 18-21, 23-26, 28-29 of the ’615 Patent

18    under 35 U.S.C. § 271(a).

19           124.    As another example, Google supplies software components for performing the
20    accused Cast functionality to third-party manufacturers, third-party distributers, or to an otherwise

21    affiliated entity that acts in a manufacturer or distributor role, who then, outside of the United

22    States installs these software components onto computing devices outside of the United States.

23    Google intends that these parties install these software components onto computing devices

24    outside of the United States. If this combination were done within the United States, that act

25    would constitute “mak[ing]” an infringing device, which constitutes direct infringement of claims

26    13-15, 18-21, 23-26, 28-29 of the ’615 Patent under 35 U.S.C. § 271(a).

27           125.    As another example, Google supplies software components for performing the

28    accused Cast functionality to entities (including affiliated entities) that operate servers outside of

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        38                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22     Page 40 of 74



 1    the United States that host Cast-enabled apps for download onto Cast-enabled computing devices

 2    and/or Cast-enabled software (e.g., firmware and/or Cast-enabled apps) for download onto Cast-

 3    enabled displays. Google intends that these entities load, store, or otherwise provide the Cast-

 4    enabled apps and/or Cast-enabled software onto these servers. If this combination were done

 5    within the United States, that act would constitute direct infringement of certain asserted claims

 6    of the ’615 Patent (e.g., claims 13-15, 18-21, and 23-24 of the ’615 Patent) by “mak[ing]” and/or

 7    “us[ing]” servers that host such software in violation of 35 U.S.C. § 271(a).

 8           126.    Google knows the foregoing software components for performing the accused Cast

 9    functionality are material components of infringing devices and the patented inventions that are
10    not staple articles or commodities of commerce suitable for substantial non-infringing use

11    because the only possible use for these software components is to be loaded, installed, and/or run

12    on infringing computing devices and Cast-enabled displays. See also Ex. CH (Sonos’s

13    infringement contentions).

14           127.    Google’s infringement of the ’615 Patent is also willful because Google (a) had

15    actual knowledge of the ’615 Patent and Sonos’s infringement contentions concerning the ’615

16    Patent no later than February 2019, as well as additional and further notice of Sonos’s

17    infringement contentions no later than September 28, 2020, (b) engaged in the aforementioned

18    activity despite an objectively high likelihood that Google’s actions constituted infringement of

19    the ’615 Patent, and (c) this objectively-defined risk was either known or so obvious that it should
20    have been known to Google. See, e.g., ¶¶ 17-30, 53-65, above.

21           128.    Given the five-year period over which Sonos put Google on consistent and

22    repeated notice of Sonos’s patents and the breadth of Sonos’s patent portfolio concerning

23    specifically the products accused in this case, detailed above, this knowledge establishes that

24    Google was, for some time periods, at least willfully blind to the fact that the ’615 Patent existed

25    and, for other time periods, had actual knowledge of the ’615 Patent. Further, this knowledge and

26    repeated and persistent disclosure establishes that Google, for some time periods, had at least

27    failed to investigate whether it infringed the ’615 Patent despite the existence of a high risk of

28

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       39                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22    Page 41 of 74



 1    infringement and, for other time periods, had actual knowledge of a credible and specific

 2    allegation of infringement of the ’615 Patent.

 3           129.    Additional allegations regarding Google’s pre-suit knowledge of the ’615 Patent

 4    and willful infringement will likely have evidentiary support after a reasonable opportunity for

 5    discovery.

 6           130.    Sonos is entitled to recover from Google all damages that Sonos has sustained as a

 7    result of Google’s infringement of the ’615 Patent, including, without limitation, a reasonable

 8    royalty and lost profits. Sonos is in compliance with any applicable marking and/or notice

 9    provisions of 35 U.S.C. § 287 with respect to the ’615 Patent.
10           131.    Google’s infringement of the ’615 Patent was and continues to be willful and

11    deliberate, entitling Sonos to enhanced damages.

12           132.    Google’s infringement of the ’615 Patent is exceptional and entitles Sonos to

13    attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.

14           133.    Google’s infringement of the ’615 Patent has caused irreparable harm (including

15    the loss of market share) to Sonos and will continue to do so unless enjoined by this Court.

16                   CLAIM II: INFRINGEMENT OF U.S. PATENT NO. 10,779,033

17           134.    Sonos incorporates by reference and re-alleges paragraphs 1-133 of this Amended

18    Complaint as if fully set forth herein.

19           135.    Google and/or users of the Google Wireless Audio System have directly infringed
20    (either literally or under the doctrine of equivalents) and continue to directly infringe one or more

21    of the claims of the ’033 Patent, in violation of 35 U.S.C. § 271(a), by making, using, offering for

22    sale, and/or selling the Google Wireless Audio System within the United States and/or importing

23    the Google Wireless Audio System into the United States without authority or license.

24           136.    In the course of this litigation, Sonos has served Google with infringement

25    contentions detailing Google’s infringement of the ’033 Patent. See Ex. CH; Ex. CJ. In

26    particular, as set forth in Sonos’s infringement contentions for the ’033 Patent, each of Google’s

27    YouTube, YouTube Music, YouTube TV, and YouTube Kids software apps (referred to in

28    paragraphs 136-167 as “Cast-enabled apps”) includes a “Cast” feature, is installed on a

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       40                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22      Page 42 of 74



 1    computing device, and when so installed, programs and/or otherwise configures a computing

 2    device such that each limitation of at least one of the asserted claims of the ’033 Patent is

 3    satisfied. As also set forth in Sonos’s infringement contentions for the ’033 Patent, each of

 4    Google’s Cast-enabled displays is also installed with software that includes the “Cast” feature,

 5    which further includes a “Stream Transfer” sub-feature, such that the Cast-enabled display is

 6    programmed and/or otherwise configured to satisfy each limitation of at least one of the asserted

 7    claims of the ’033 Patent. For the avoidance of doubt, Sonos incorporates herein by reference

 8    under Rule 10(c) these infringement contentions for all purposes.

 9           137.    On September 28, 2020, Sonos provided Google with a draft of the original
10    complaint prior to its filing. That draft identified the ’033 Patent and described how Google’s

11    products infringed. Thus, Google had actual knowledge of Sonos’s allegation that Google

12    infringed claims of the ’033 Patent prior to Sonos filing this action.

13           138.    Additionally and/or alternatively, Google has indirectly infringed and continues to

14    indirectly infringe one or more of the claims of the ’033 Patent, in violation of 35 U.S.C.

15    § 271(b), by actively inducing users of the Google Wireless Audio System to directly infringe the

16    one or more claims of the ’033 Patent. In particular, (a) Google had actual knowledge of the ’033

17    Patent and Sonos’s infringement contentions, or was willfully blind to their existence, no later

18    than September 28, 2020 when Sonos provided Google with a copy of the complaint (see ¶¶ 17-

19    30, 53-65, above), (b) Google intentionally causes, urges, or encourages users of the Google
20    Wireless Audio System to directly infringe one or more claims of the ’033 Patent by promoting,

21    advertising, and instructing customers and potential customers about the Google Wireless Audio

22    System (including uses thereof) and encouraging such customers and potential customers to

23    engage in activity that constitutes direct infringement (see Exs. W-Z), (c) Google has continued to

24    intentionally cause, urge, or encourage users of the Google Wireless Audio System in such a

25    manner both since becoming aware of the ’033 Patent and since Sonos told Google that such

26    conduct was inducing infringement on September 28, 2020, (d) Google knows (or should know)

27    and has known (or should have known) that its actions will induce users of the Google Wireless

28

                                                                               SONOS’S THIRD AMENDED COMPLAINT
                                                       41                      CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22    Page 43 of 74



 1    Audio System to directly infringe one or more claims the ’033 Patent, and (e) users of the Google

 2    Wireless Audio System directly infringe one or more claims of the ’033 Patent.

 3           139.    For instance, at a minimum, Google has supplied and continues to supply (i) the

 4    YouTube, YouTube Music, YouTube TV, and YouTube Kids software apps and (ii) software

 5    (e.g., firmware and/or Cast-enabled apps) for installation onto Cast-enabled displays to customers

 6    while knowing that installation and/or use of one or more of these pieces of software will infringe

 7    one or more claims of the ’033 Patent and that Google’s customers then directly infringe one or

 8    more claims of the ’033 Patent by installing and/or using one or more of these pieces of software

 9    in accordance with Google’s product literature. See, e.g., id. In other words, Google specifically
10    intends to induce its customers to infringe the ’033 Patent by intentionally encouraging and

11    instructing its customers to install such software/pieces of software onto their computing devices.

12           140.    Example evidence of Google intentionally encouraging and instructing its

13    customers to infringe the ’033 Patent can be found at paragraphs 103-107.

14           141.    Google has continued to engage in the conduct described above by way of

15    example since it became aware of the ’033 Patent and since Sonos informed Google in Sonos’s

16    December 21, 2020 infringement contentions (and each subsequent instance of amended

17    infringement contentions) that such conduct was inducing others to directly infringe the ’033

18    Patent. Google chose not to cease its conduct despite this. Thus, Google has engaged in this

19    conduct with the specific intent to infringe the ’033 Patent because this conduct was expressly
20    intended to encourage users to download and install the YouTube, YouTube Music, YouTube

21    TV, and YouTube Kids software apps and software (e.g., firmware and/or Cast-enabled apps) for

22    installation onto Cast-enabled displays, as well as use computing devices installed with such

23    software – the very actions that result in direct infringement of the ’033 Patent.

24           142.    Additionally and/or alternatively, Google has indirectly infringed and continues to

25    indirectly infringe one or more of the claims of the ’033 Patent, in violation of 35 U.S.C.

26    § 271(c), by offering to sell or selling within the United States, and/or importing into the United

27    States, components in connection with the Google Wireless Audio System that contribute to the

28    direct infringement of the ’033 Patent by users of the Google Wireless Audio System. In

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       42                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA          Document 211           Filed 07/08/22    Page 44 of 74



 1    particular, (a) Google had actual knowledge of the ’033 Patent and Sonos’s infringement

 2    contentions, or was willfully blind to their existence, no later than September 28, 2020 when

 3    Sonos provided Google with a copy of the complaint (see ¶¶ 17-30, 53-65, above), (b) Google

 4    offers for sale, sells, and/or imports, in connection with the Google Wireless Audio System, one

 5    or more material components of the invention of the ’033 Patent that are not staple articles of

 6    commerce suitable for substantial non-infringing use, (c) Google knows (or should know) that

 7    such component(s) were especially made or especially adapted for use in an infringement of

 8    the ’033 Patent, and (d) users of devices that comprise such material component(s) directly

 9    infringe one or more claims of the ’033 Patent. For instance, at a minimum, Google offers for
10    sale, sells, and/or imports (i) the YouTube, YouTube Music, YouTube TV, and YouTube Kids

11    software apps for installation on devices (e.g., smartphones, tablets, and computers) and (ii)

12    software (e.g., firmware and/or Cast-enabled apps) for installation onto Cast-enabled displays that

13    meet one or more claims of the ’033 Patent. See, e.g., Exs. W-Z. Each of these pieces of

14    software is a material component of the devices that meet the one or more claims of the ’033

15    Patent. Further, Google especially made and/or adapted this software for installation and use on

16    devices that meet the one or more claims of the ’033 Patent, and each of these pieces of software

17    is not a staple article of commerce suitable for substantial non-infringing use. Google’s

18    customers then directly infringe the one or more claims of the ’033 Patent by installing and/or

19    using this software on the customers’ devices.
20           143.    More specifically, Google supplies software components, such as the YouTube,

21    YouTube Music, YouTube TV, and YouTube Kids software apps, that include the accused Cast

22    feature as part of Google’s own Cast-enabled apps for installation onto computing devices in the

23    United States and as part of Google’s own Cast-enabled software (e.g., firmware and/or Cast-

24    enabled apps) for installation onto Cast-enabled displays in the United States, and each time a

25    user installs these software components, the user “makes” an infringing device and thereby

26    directly infringes the asserted claims of the ‘033 Patent under 35 U.S.C. § 271(a).

27           144.    These software components are material components of infringing devices, such as

28    computing devices provisioned with one or more Cast-enabled apps, and are not staple articles or

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       43                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA          Document 211          Filed 07/08/22    Page 45 of 74



 1    commodities of commerce suitable for substantial non-infringing use because the only possible

 2    use for these software components is to be installed and run on infringing Cast-enabled

 3    computing devices and Cast-enabled displays. In other words, there is no other reasonable,

 4    suitable, or even conceivable use for these software components other than to be downloaded to

 5    and installed on computing devices, such as mobile phones or tablet computers. Because the

 6    asserted claims are directed to capability and not actual use or performance, actual execution of

 7    software functionality is not required. Infringement occurs as soon as the software component is

 8    downloaded to and/or installed on the computing device. Thus, the fact that the computing device

 9    may be capable of carrying out non-infringing functionality (in addition to being capable of
10    carrying out the claimed functionality) does not negate infringement and is not a non-infringing

11    use because infringement has already occurred as a result of the download and/or installation of

12    the software component onto the computing device.

13           145.    Along with its actual knowledge of the ’033 Patent, Google knew (or should have

14    known) that the software components were especially made or adapted for installation on

15    infringing devices and that installation of these software components by others resulted in (and

16    continues to result in) direct infringement of the ’033 Patent under 35 U.S.C. § 271(a) because

17    each such installation “makes” a device that meets every element of claims 1-2, 4, 7-13 of

18    the ’033 Patent.

19           146.    Additionally and/or alternatively, as discussed before, Google supplies software
20    component features, including the accused Cast feature as part of Google’s own Cast-enabled

21    apps for installation onto computing devices and the accused Cast and Stream Transfer features as

22    part of Google’s own Cast-enabled software for installation onto Cast-enabled displays, in the

23    United States via software downloads. These software component features are material

24    components of infringing devices and are not staple articles or commodities of commerce suitable

25    for substantial non-infringing use because the only possible use for these software component

26    features is to be operated on infringing Cast-enabled computing devices and/or Cast-enabled

27    displays. Along with its actual knowledge of the ’033 Patent, Google knew (or should have

28    known) that the software component features were especially made or adapted to perform specific

                                                                            SONOS’S THIRD AMENDED COMPLAINT
                                                      44                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22    Page 46 of 74



 1    functions that are a material part of the inventions of the ’033 Patent and that use of these

 2    software component features by others involved (and continues to involve) a direct infringement

 3    of the ’033 Patent under 35 U.S.C. § 271(a).

 4           147.    Moreover, as a result of Google’s contributory conduct, others have directly

 5    infringed the asserted claims of the ’033 Patent. For example, users have installed the supplied

 6    software components for operating the accused Cast feature (which are included in Google’s own

 7    Cast-enabled apps) onto Cast-enabled computing devices in the United States, thereby “making”

 8    infringing devices. As another example, users have installed the supplied software components

 9    for operating the accused Cast feature (which are included in firmware, as well as Cast-enabled
10    apps) onto Cast-enabled displays in the United States, thereby “making” updated Cast-enabled

11    displays that are infringing devices. As yet another example, after installing the supplied

12    software components onto Cast-enabled computing devices and Cast-enabled displays, users have

13    used these infringing devices, including the use of the accused Cast and Stream Transfer features,

14    which also constitutes direct infringement.

15           148.    Pursuant to 35 U.S.C. § 271(f)(1), Google has also infringed by supplying in or

16    from the United States software and/or firmware components, which constitute substantial

17    portions of the components of Sonos’s patented inventions, and actively, knowingly, and

18    intentionally induced (and continues to actively, knowingly, and intentionally induce) others

19    outside of the United States to combine these software and/or firmware components in a manner
20    that, if such combination would have occurred in the United States (as it does pursuant to the

21    theories set forth above), infringes the asserted claims of the ’033 Patent. And these

22    combinations by those outside of the United States do in fact occur. Accordingly, by supplying

23    such software and/or firmware components from the United States, Google is liable for

24    infringement under 35 U.S.C. § 271(f)(1).

25           149.    Despite knowing of the ’033 Patent, Google supplies software components for

26    performing the accused functionality as part of Google’s own YouTube, YouTube Music,

27    YouTube TV, and YouTube Kids apps (as well as the other apps identified in Google’s

28    infringement contentions served in this case, see Exs. CH, CJ) for installation onto computing

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       45                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA            Document 211         Filed 07/08/22    Page 47 of 74



 1    devices and also as part of Google’s own cast-enabled software for installation onto Cast-enabled

 2    displays. These software and/or firmware components are at least substantial portions of the

 3    components of the patented inventions of the ’033 Patent. Google supplies these software and/or

 4    firmware components from the United States to various entities outside the United States. Google

 5    then induces those entities to combine the supplied components in a manner that would, if

 6    combined within the United States, constitute infringement. Google has actively, knowingly, and

 7    intentionally induced (and continues to actively, knowingly, and intentionally induce) these

 8    entities to make such combinations outside the United States in various ways, in violation of 35

 9    U.S.C. § 271(f)(1).
10           150.       For example, through Google’s website, advertising and promotional material,

11    user guides, and/or the Google Play Store, Google has actively, knowingly, and intentionally

12    encouraged and induced (and continues to actively, knowingly, and intentionally encourage and

13    induce) others outside the United States to install one or more of the Cast-enabled apps (including

14    YouTube, YouTube Music, YouTube TV, and YouTube Kids apps) onto computing devices

15    outside of the United States. If this combination were done within the United States, that act

16    would constitute “mak[ing]” an infringing device, which constitutes direct infringement of claims

17    1-2, 4, 7-13 of the ’033 Patent under 35 U.S.C. § 271(a). See, e.g., Ex. CM

18    (https://support.google.com/youtubemusic/answer/6313540?co=GENIE.Platform%3DDesktop&o

19    co=1, indicating that the YouTube Music app is available in dozens of countries other than the
20    United States).

21           151.       As another example, through Google’s website, advertising and promotional

22    material, user guides, and Cast-enabled apps, Google has actively, knowingly, and intentionally

23    encouraged and induced (and continues to actively, knowingly, and intentionally encourage and

24    induce) others outside the United States to install software (e.g., firmware updates and/or Cast-

25    enabled apps) onto Cast-enabled displays outside of the United States. If this combination were

26    done within the United States, that act would constitute “mak[ing]” an infringing device, which

27    constitutes direct infringement of claims 1-2, 4, 7-13 of the ’033 Patent under 35 U.S.C. § 271(a).

28

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       46                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22     Page 48 of 74



 1           152.    As another example, through Google’s relationship with third-party manufacturers,

 2    third-party distributers, or via an otherwise affiliated entity that acts in a manufacturer or

 3    distributor role, Google actively, knowingly, and intentionally encourages and induces or

 4    instructs such parties to install one or more of the accused apps (including YouTube, YouTube

 5    Music, YouTube TV, and YouTube Kids apps, as well as the other apps set forth in Sonos’s

 6    infringement contentions, Exs. CH, CJ) onto computing devices outside of the United States. If

 7    this combination were done within the United States, that act would constitute “mak[ing]” an

 8    infringing device, which constitutes direct infringement of claims 1-2, 4, 7-13 of the ’033 Patent

 9    under 35 U.S.C. § 271(a).
10           153.    On information and belief, Google engages in the same conduct set out above

11    (with respect to Google’s infringement under § 271(b)) in foreign countries and with the intent to

12    encourage users in foreign countries to download and install the accused apps onto computing

13    devices.

14           154.    As another example, through Google’s relationship with third-party manufacturers,

15    third-party distributers, or via an otherwise affiliated entity that acts in a manufacturer or

16    distributor role, Google actively, knowingly, and intentionally encourages and induces or

17    instructs such parties to install software (e.g., firmware updates and/or apps) onto the Cast-

18    enabled displays outside of the United States. If this combination were done within the United

19    States, that act would constitute “mak[ing]” an infringing device, which constitutes direct
20    infringement of claims 1-2, 4, 7-13 of the ’033 Patent under 35 U.S.C. § 271(a).

21           155.    As still another example, through Google’s relationship with entities (including

22    affiliated entities) that operate servers outside of the United States that host Cast-enabled apps

23    (e.g., Google’s own YouTube, YouTube Music, YouTube TV, and YouTube Kids apps) for

24    download onto computing devices and/or software (e.g., firmware and/or apps) for download onto

25    Cast-enabled displays, Google actively, knowingly, and intentionally encourages and induces or

26    instructs these entities to load, store, or otherwise provide the apps and/or software onto these

27    servers. For instance, Google operates data centers and download servers in countless foreign

28    countries and regions.

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        47                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22    Page 49 of 74



 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11    See Ex. CR (https://cloud.google.com/about/locations#regions). In at least these foreign countries
12    and regions, users are able to download the Cast-enabled apps onto computing devices. To
13    facilitate this, Google has intentionally encouraged and induced or instructed other entities
14    (including Google’s affiliated entities) to upload software packages constituting the Cast-enabled
15    apps onto download servers that are located in foreign countries. If this combination were done
16    within the United States, that act would constitute direct infringement of certain asserted claims
17    of the ’033 Patent (e.g., claims 12-13 of the ’033 Patent) by “mak[ing]” and/or “us[ing]” servers
18    that host such software in violation of 35 U.S.C. § 271(a). See also Ex. CH (Sonos’s infringement
19    contentions).
20           156.     Pursuant to 35 U.S.C. § 271(f)(2), Google has also infringed by supplying
21    software components in or from the United Sates to be combined, installed, loaded, and/or used
22    by others outside of the United States, where these software components are components of the
23    patented inventions that have no substantial non-infringing use and are not staple articles or
24    commodities of commerce – with knowledge that these software components were especially
25    made or adapted for use and an intent that these software components would be combined,
26    installed, loaded, and/or used outside the United States such that, if such combination,
27    installation, load, and/or use occurred within the United States (as it does pursuant to the theories
28    set forth above), it would infringe the asserted claims of the ’033 Patent. And these combinations

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       48                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22    Page 50 of 74



 1    by those outside of the United States do in fact occur. Accordingly, by supplying such software

 2    components in or from the United States, Google is liable for infringement under 35 U.S.C. §

 3    271(f)(2).

 4           157.    Despite knowing of the ’033 Patent, Google supplies software components for

 5    performing the accused Cast functionality as part of Google’s Cast-enabled apps (including

 6    YouTube, YouTube Music, YouTube TV, and YouTube Kids apps, as well as the other apps set

 7    forth in Sonos’s infringement contentions, Exs. CH, CJ) for installation onto computing devices

 8    outside the United States and also as part of Google’s own software (e.g., firmware and/or Cast-

 9    enabled apps) for installation onto Cast-enabled displays outside the United States. Google
10    intends that others outside the United States, including users, install these software components

11    onto computing devices and Cast-enabled displays and knows that such installation does in fact

12    occur and that such installation, if occurring in the United States, would constitute “mak[ing]” an

13    infringing device thereby directly infringing claims 1-2, 4, 7-13 of the ’033 Patent under 35

14    U.S.C. § 271(a).

15           158.    As another example, Google supplies software components for performing the

16    accused Cast functionality to third-party manufacturers, third-party distributers, or to an otherwise

17    affiliated entity that acts in a manufacturer or distributor role, who then, outside of the United

18    States installs these software components onto computing devices outside of the United States.

19    Google intends that these parties install these software components onto computing devices
20    outside of the United States. If this combination were done within the United States, that act

21    would constitute “mak[ing]” an infringing device, which constitutes direct infringement of claims

22    1-2, 4, 7-13 of the ’033 Patent under 35 U.S.C. § 271(a).

23           159.    As another example, Google supplies software components for performing the

24    accused Cast functionality to entities (including affiliated entities) that operate servers outside of

25    the United States that host apps for download onto computing devices and/or Cast-enabled

26    software (e.g., firmware and/or apps) for download onto Cast-enabled displays. Google intends

27    that these entities load, store, or otherwise provide the apps and/or accused software onto these

28    servers. If this combination were done within the United States, that act would constitute direct

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        49                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22     Page 51 of 74



 1    infringement of certain asserted claims of the ’033 Patent (e.g., claims 12-13 of the ’033 Patent)

 2    by “mak[ing]” and/or “us[ing]” servers that host such software in violation of 35 U.S.C. § 271(a).

 3           160.    Google knows the foregoing software components for performing the accused Cast

 4    functionality are material components of infringing devices and the patented inventions that are

 5    not staple articles or commodities of commerce suitable for substantial non-infringing use

 6    because the only possible use for these software components is to be loaded, installed, and/or run

 7    on infringing Cast-enabled computing devices and Cast-enabled displays.

 8           161.    Google’s infringement of the ’033 Patent is also willful because Google (a) had

 9    actual knowledge of the ’033 Patent and Sonos’s infringement contentions no later than
10    September 28, 2020, (b) engaged in the aforementioned activity despite an objectively high

11    likelihood that Google’s actions constituted infringement of the ’033 Patent, and (c) this

12    objectively-defined risk was either known or so obvious that it should have been known to

13    Google. See, e.g., ¶¶ 17-30, 53-65, above.

14           162.    Given the five-year period over which Sonos put Google on consistent and

15    repeated notice of Sonos’s patents and the breadth of Sonos’s patent portfolio concerning

16    specifically the products accused in this case, detailed above, this knowledge establishes that

17    Google was, for some time periods, at least willfully blind to the fact that the ’033 Patent existed

18    and, for other time periods, had actual knowledge of the ’033 Patent. Further, this knowledge and

19    repeated and persistent disclosure establishes that Google, for some time periods, had at least
20    failed to investigate whether it infringed the ’033 Patent despite the existence of a high risk of

21    infringement and, for other time periods, had actual knowledge of a credible and specific

22    allegation of infringement of the ’033 Patent.

23           163.    Additional allegations regarding Google’s pre-suit knowledge of the ’033 Patent

24    and willful infringement will likely have evidentiary support after a reasonable opportunity for

25    discovery.

26           164.    Sonos is entitled to recover from Google all damages that Sonos has sustained as a

27    result of Google’s infringement of the ’033 Patent, including, without limitation, a reasonable

28

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       50                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22      Page 52 of 74



 1    royalty and lost profits. Sonos is in compliance with any applicable marking and/or notice

 2    provisions of 35 U.S.C. § 287 with respect to the ‘033 Patent.

 3           165.    Google’s infringement of the ’033 Patent was and continues to be willful and

 4    deliberate, entitling Sonos to enhanced damages.

 5           166.    Google’s infringement of the ’033 Patent is exceptional and entitles Sonos to

 6    attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.

 7           167.    Google’s infringement of the ’033 Patent has caused irreparable harm (including

 8    the loss of market share) to Sonos and will continue to do so unless enjoined by this Court.

 9                  CLAIM III: INFRINGEMENT OF U.S. PATENT NO. 10,469,966
10           168.    Sonos incorporates by reference and re-alleges paragraphs 1-167 of this Amended

11    Complaint as if fully set forth herein.

12           169.    Google and/or users of the Google Wireless Audio System have directly infringed

13    (either literally or under the doctrine of equivalents) and continue to directly infringe one or more

14    of the claims of the ’966 Patent, in violation of 35 U.S.C. § 271(a), by making, using, offering for

15    sale, and/or selling the Google Wireless Audio System within the United States and/or importing

16    the Google Wireless Audio System into the United States without authority or license.

17           170.    In the course of this litigation, Sonos has served Google with infringement

18    contentions detailing Google’s infringement of the ’966 Patent. See Ex. CH; Ex. CK. In

19    particular, as set forth in Sonos’s infringement contentions for the ’966 Patent, Google’s Google
20    Home app includes a “speaker group” feature, is installed on a computing device, and when so

21    installed, programs and/or otherwise configures a computing device such that each limitation of at

22    least one of the asserted claims of the ’966 Patent is satisfied. For the avoidance of doubt, Sonos

23    incorporates herein by reference under Rule 10(c) these infringement contentions for all purposes.

24           171.    On September 28, 2020, Sonos provided Google with a draft of the original

25    complaint prior to its filing. That draft identified the ’966 Patent and described how Google’s

26    products infringed. Thus, Google had actual knowledge of Sonos’s allegation that Google

27    infringed claims of the ’966 Patent prior to Sonos filing this action.

28

                                                                               SONOS’S THIRD AMENDED COMPLAINT
                                                       51                      CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA          Document 211           Filed 07/08/22    Page 53 of 74



 1           172.    Additionally and/or alternatively, Google has indirectly infringed and continues to

 2    indirectly infringe one or more of the claims of the ’966 Patent, in violation of 35 U.S.C.

 3    § 271(b), by actively inducing users of the Google Wireless Audio System to directly infringe the

 4    one or more claims of the ’966 Patent. In particular, (a) Google had actual knowledge of the ’966

 5    Patent and Sonos’s infringement contentions, or was willfully blind to their existence, no later

 6    than September 28, 2020 when Sonos provided Google with a copy of the complaint (see ¶¶ 17-

 7    30, 53-65, above), (b) Google intentionally causes, urges, or encourages users of the Google

 8    Wireless Audio System to directly infringe one or more claims of the ’966 Patent by promoting,

 9    advertising, and instructing customers and potential customers about the Google Wireless Audio
10    System (including uses thereof) and encouraging such customers and potential customers to

11    engage in activity that constitutes direct infringement (see Exs. U-V), (c) Google has continued to

12    intentionally cause, urge, or encourage users of the Google Wireless Audio System in such a

13    manner both since becoming aware of the ’966 Patent and since Sonos told Google that such

14    conduct was inducing infringement on September 28, 2020, (d) Google knows (or should know)

15    and has known (or should have known) that its actions will induce users of the Google Wireless

16    Audio System to directly infringe one or more claims the ’966 Patent, and (e) users of the Google

17    Wireless Audio System directly infringe one or more claims of the ’966 Patent.

18           173.    For instance, at a minimum, Google has supplied and continues to supply the

19    Google Home app to customers while knowing that installation and/or use of this app will
20    infringe one or more claims of the ’966 Patent and that Google’s customers then directly infringe

21    one or more claims of the ’966 Patent by installing and/or using this app in accordance with

22    Google’s product literature. See, e.g., id. In other words, Google specifically intends to induce

23    its customers to infringe the ’966 Patent by intentionally encouraging and instructing its

24    customers to install such software/pieces of software onto their computing devices. Example

25    evidence of such conduct includes:

26

27

28

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       52                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA   Document 211        Filed 07/08/22    Page 54 of 74



 1

 2

 3

 4

 5

 6

 7
      Ex. U.
 8

 9
10

11

12

13

14

15    Ex. V.
16

17

18

19
20

21

22

23

24    Ex. CT.

25

26

27

28

                                                                   SONOS’S THIRD AMENDED COMPLAINT
                                             53                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA          Document 211         Filed 07/08/22    Page 55 of 74



 1             174.   Moreover, example evidence of Google encouraging and instructing its customers

 2    to use the accused speaker-group feature included in the Google Home app in an infringing

 3    manner includes:

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19
20

21

22

23

24    Ex. P.

25             175.   Google has continued to engage in the conduct described above by way of

26    example since it became aware of the ’966 Patent and since Sonos informed Google in Sonos’s

27    December 21, 2020 infringement contentions (and each subsequent instance of amended

28    infringement contentions) that such conduct was inducing others to directly infringe the ’966


                                                                           SONOS’S THIRD AMENDED COMPLAINT
                                                     54                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22    Page 56 of 74



 1    Patent. Google chose not to cease its conduct despite this. Thus, Google has engaged in this

 2    conduct with the specific intent to infringe the ’966 Patent because this conduct was expressly

 3    intended to encourage users to download and install the Google Home app onto computing

 4    devices, as well as use computing devices installed with the Google Home app – the very actions

 5    that result in direct infringement of the ’966 Patent.

 6           176.    Sonos has identified additional evidence of Google’s inducing conduct in its

 7    infringement contentions and interrogatory responses, which Sonos incorporates herein by

 8    reference under Rule 10(c) for all purposes. See Exs. CH, CW.

 9           177.    Additionally and/or alternatively, Google has indirectly infringed and continues to
10    indirectly infringe one or more of the claims of the ’966 Patent, in violation of 35 U.S.C.

11    § 271(c), by offering to sell or selling within the United States, and/or importing into the United

12    States, components in connection with the Google Wireless Audio System that contribute to the

13    direct infringement of the ’966 Patent by users of the Google Wireless Audio System. In

14    particular, (a) Google had actual knowledge of the ’966 Patent and Sonos’s infringement

15    contentions, or was willfully blind to their existence, no later than September 28, 2020 when

16    Sonos provided Google with a copy of the complaint (see ¶¶ 17-30, 53-65, sabove), (b) Google

17    offers for sale, sells, and/or imports, in connection with the Google Wireless Audio System, one

18    or more material components of the invention of the ’966 Patent that are not staple articles of

19    commerce suitable for substantial non-infringing use, (c) Google knows (or should know) that
20    such component(s) were especially made or especially adapted for use in an infringement of

21    the ’966 Patent, and (d) users of devices that comprise such material component(s) directly

22    infringe one or more claims of the ’966 Patent.

23           178.    For instance, at a minimum, Google offers for sale, sells, and/or imports the

24    Google Home app for installation on devices (e.g., smartphones, tablets, and computers) that meet

25    one or more claims of the ’966 Patent. See, e.g., Exs. U-V. This app is a material component of

26    the devices that meet the one or more claims of the ’966 Patent. Further, Google especially made

27    and/or adapted this app for installation and use on devices that meet the one or more claims of

28    the ’966 Patent, and this app is not a staple article of commerce suitable for substantial non-

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        55                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA            Document 211         Filed 07/08/22    Page 57 of 74



 1    infringing use. Google’s customers then directly infringe the one or more claims of the ’966

 2    Patent by installing and/or using the Google Home app on the customers’ devices.

 3              179.   More specifically Google supplies a software component, the Google Home app,

 4    that includes the accused speaker-group feature as part of the Google Home app in the United

 5    States, and each time a user installs the Google Home app onto a computing device, the user

 6    “makes” an infringing device and thereby directly infringes the asserted claims of the ’966 Patent

 7    under 35 U.S.C. § 271(a). The software component is a material component of infringing devices

 8    and is not a staple article or commodity of commerce suitable for substantial non-infringing use

 9    because the only possible use for these software components is to be installed and run on
10    infringing computing devices. In other words, there is no other reasonable, suitable, or even

11    conceivable use for these software components other than to be downloaded to and installed on

12    computing devices, such as mobile phones or tablet computers. Because the asserted claims are

13    directed to capability and not actual use or performance, actual execution of software

14    functionality is not required. Infringement occurs as soon as the software component is

15    downloaded to and/or installed on the computing device. Thus, the fact that the computing device

16    may be capable of carrying out non-infringing functionality (in addition to being capable of

17    carrying out the claimed functionality) does not negate infringement and is not a non-infringing

18    use because infringement has already occurred as a result of the download and/or installation of

19    the software component onto the computing device.
20              180.   Along with its actual knowledge of the ’966 Patent, Google knew (or should have

21    known) that the software component was especially made or adapted for installation on infringing

22    devices and that installation of this software component by others resulted in (and continues to

23    result in) direct infringement of the ’966 Patent under 35 U.S.C. § 271(a) because each such

24    installation “makes” a device that meets every element of claims 1-4, 6-12, 14-16 of the ’966

25    Patent.

26              181.   Additionally and/or alternatively, as discussed before, Google supplies a software

27    component feature (i.e., the accused speaker-group feature as part of the Google Home app for

28    installation onto computing devices) in the United States via software downloads. This software

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       56                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22    Page 58 of 74



 1    component feature is a material component of infringing devices and is not a staple article or

 2    commodity of commerce suitable for substantial non-infringing use because the only possible use

 3    for this software component feature is to be operated on infringing Cast-enabled computing

 4    devices. Along with its actual knowledge of the ’966 Patent, Google knew (or should have

 5    known) that the software component feature was especially made or adapted to perform specific

 6    functions that are a material part of the inventions of the ’966 Patent and that use of this software

 7    component feature by others involved (and continues to involve) a direct infringement of the ’966

 8    Patent under 35 U.S.C. § 271(a).

 9           182.    Moreover, as a result of Google’s contributory conduct, others have directly
10    infringed the asserted claims of the ’966 Patent. For example, users have installed the supplied

11    software components included as part of the Google Home app onto computing devices in the

12    United States, thereby “making” infringing computing devices. As another example, after

13    installing the supplied software components included as part of the Google Home app onto

14    computing devices, users have used these infringing devices, including the use of the accused

15    speaker-group feature, which also constitutes direct infringement of the asserted claims.

16           183.    Pursuant to 35 U.S.C. § 271(f)(1), Google has also infringed by supplying in or

17    from the United States software and/or firmware components, which constitute substantial

18    portions of the components of Sonos’s patented inventions, and actively, knowingly, and

19    intentionally induced (and continues to actively, knowingly, and intentionally induce) others
20    outside of the United States to combine these software and/or firmware components in a manner

21    that, if such combination would have occurred in the United States (as it does pursuant to the

22    theories set forth above), infringes the asserted claims of the ’966 Patent. And these

23    combinations by those outside of the United States do in fact occur. Accordingly, by supplying

24    such software and/or firmware components from the United States, Google is liable for

25    infringement under 35 U.S.C. § 271(f)(1).

26           184.    Despite knowing of the ’966 Patent, Google supplies the Google Home app from

27    the United States to various entities outside the United States. Google then induces those entities

28    to combine the Google Home app in a manner that would, if combined within the United States,

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       57                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA          Document 211           Filed 07/08/22    Page 59 of 74



 1    constitute infringement. Google has actively, knowingly, and intentionally induced (and

 2    continues to actively, knowingly, and intentionally induce) these entities to make such

 3    combinations outside the United States in various ways, in violation of 35 U.S.C. § 271(b).

 4           185.    For example, through Google’s website, advertising and promotional material,

 5    user guides, and/or the Google Play Store, and via audible or visual instructions emitted from or

 6    displayed on the Cast-enabled media players and Cast-enabled displays, Google has actively,

 7    knowingly, and intentionally encouraged and induced (and continues to actively, knowingly, and

 8    intentionally encourage and induce) others outside the United States to install the Google Home

 9    app onto computing devices outside the United States. If this combination were done within the
10    United States, that act would constitute “mak[ing]” an infringing device, which constitutes direct

11    infringement of claims 1-4, 6-12, 14-16 of the ’966 Patent under 35 U.S.C. § 271(a). See, e.g.,

12    Ex. CU (https://support.google.com/store/answer/2462844?hl=en, indicating the countries in

13    which Google’s media players can be purchased and operated and thus, the countries in which

14    Google encourages its users to download and install the Google Home app).

15           186.    As another example, through Google’s relationship with entities (including

16    affiliated entities) that operate servers outside of the United States that host the Google Home app

17    for download onto smartphone, tablet, and computer devices, Google actively, knowingly, and

18    intentionally encourages and induces or instructs these entities to load, store, or otherwise provide

19    the Google Home app onto these servers. For instance, Google operates data centers and
20    download servers in countless foreign countries and regions.

21

22

23

24

25

26

27

28

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       58                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA          Document 211           Filed 07/08/22    Page 60 of 74



 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11    See Ex. CR (https://cloud.google.com/about/locations#regions). In at least these foreign countries
12    and regions, users are able to download the Google Home app onto computing devices. To
13    facilitate this, Google has intentionally encouraged and induced or instructed other entities
14    (including Google’s affiliated entities) to upload software packages constituting the Google Home
15    app onto download servers that are located in foreign countries. If this combination were done
16    within the United States, that act would constitute direct infringement of certain asserted claims
17    of the ’966 Patent (e.g., claims 9-12 and 14-16) by “mak[ing]” and/or “us[ing]” servers that host
18    such software in violation of 35 U.S.C. § 271(a).
19           187.    On information and belief, Google engages in the same conduct set out above
20    (with respect to Google’s infringement under § 271(b)) in foreign countries and with the intent to
21    encourage users in foreign countries to download and install the Google Home app onto
22    computing devices.
23           188.    Pursuant to 35 U.S.C. § 271(f)(2), Google has also infringed by supplying
24    software components in or from the United Sates to be combined, installed, loaded, and/or used
25    by others outside of the United States, where these software components are components of the
26    patented inventions that have no substantial non-infringing use and are not staple articles or
27    commodities of commerce – with knowledge that these software components were especially
28    made or adapted for use and an intent that these software components would be combined,

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       59                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22    Page 61 of 74



 1    installed, loaded, and/or used outside the United States such that, if such combination,

 2    installation, load, and/or use occurred within the United States (as it does pursuant to the theories

 3    set forth above), it would infringe the asserted claims of the Asserted Patents. And these

 4    combinations by those outside of the United States do in fact occur. Accordingly, by supplying

 5    such software components in or from the United States, Google is liable for infringement under

 6    35 U.S.C. § 271(f)(2).

 7           189.    Despite knowing of the ’966 Patent, Google supplies software components for

 8    performing the accused functionality as part of the Google Home app in or from the United States

 9    to various entities outside the United States. Google knows and intends for those entities to
10    combine the software components in a manner that would, if combined within the United States,

11    constitute infringement because each combination or installation of the Google Home app onto a

12    computing device would constitute “mak[ing]” an infringing device and thus directly infringe

13    claims 1-4, 6-12, 14-16 of the ’966 Patent under 35 U.S.C. § 271(a).

14           190.    Google knows that the software components included in the Google Home app are

15    material components of infringing devices that are not staple articles or commodities of

16    commerce suitable for substantial non-infringing use because the only possible use for these

17    software components is to be installed and run on infringing computing devices.

18           191.    Along with its actual knowledge of the ’966 Patent, Google knew (or should have

19    known) that the software components included in the Google Home app were especially made or
20    adapted for installation on infringing devices, and that installation of these software components

21    by others outside of the United States would, if done within the United States, constitute (and

22    continues to result in) direct infringement of the ’966 Patent under 35 U.S.C. § 271(a) because

23    each such installation “makes” a device that meets every element of every asserted claims.

24           192.    Moreover, as a result of Google providing software components of the Google

25    Home app, others have outside of the United States combined the Google Home app in a manner

26    that, if done within the United States, would constitute direct infringement of the asserted claims

27    of the ’966 Patent. For example, others outside the United States have installed the Google Home

28    app onto computing devices outside the United States. If this combination were done within the

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       60                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22     Page 62 of 74



 1    United States, that act would constitute “mak[ing]” an infringing device, which constitutes direct

 2    infringement of claims 1-4, 6-12, 14-16 of the ’966 Patent under 35 U.S.C. § 271(a).

 3           193.    As another example, Google supplies software components of the Google Home

 4    app to entities (including affiliated entities) that operate servers outside of the United States that

 5    host the Google Home app for download onto smartphone, tablet, and computer devices. Google

 6    intends that these entities load, store, or otherwise provide the Google Home app onto these

 7    servers. If this combination were done within the United States, that act would constitute direct

 8    infringement of certain asserted claims of the ’966 Patent (e.g., claims 9-12 and 14-16) by

 9    “mak[ing]” and/or “us[ing]” servers that host such software in violation of 35 U.S.C. § 271(a).
10    See also Ex. CH (Sonos’s infringement contentions).

11           194.    Google’s infringement of the ’966 Patent is also willful because Google (a) had

12    actual knowledge of the ’966 Patent and actual knowledge of Sonos’s infringement contentions

13    no later than September 28, 2020, (b) engaged in the aforementioned activity despite an

14    objectively high likelihood that Google’s actions constituted infringement of the ’966 Patent, and

15    (c) this objectively-defined risk was either known or so obvious that it should have been known to

16    Google. See, e.g., ¶¶ 17-30, 53-65, above.

17           195.    Given the five-year period over which Sonos put Google on consistent and

18    repeated notice of Sonos’s patents and the breadth of Sonos’s patent portfolio concerning

19    specifically the products accused in this case, detailed above, this knowledge establishes that
20    Google was, for some time periods, at least willfully blind to the fact that the ’966 Patent existed

21    and, for other time periods, had actual knowledge of the ’966 Patent. Further, this knowledge and

22    repeated and persistent disclosure establishes that Google, for some time periods, had at least

23    failed to investigate whether it infringed the ’966 Patent despite the existence of a high risk of

24    infringement and, for other time periods, had actual knowledge of a credible and specific

25    allegation of infringement of the ’966 Patent.

26           196.    Additional allegations regarding Google’s pre-suit knowledge of the ’966 Patent

27    and willful infringement will likely have evidentiary support after a reasonable opportunity for

28    discovery.

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        61                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22    Page 63 of 74



 1            197.    Sonos is in compliance with any applicable marking and/or notice provisions of 35

 2    U.S.C. § 287 with respect to the ’966 Patent.

 3            198.    Sonos is entitled to recover from Google all damages that Sonos has sustained as a

 4    result of Google’s infringement of the ’966 Patent, including, without limitation, a reasonable

 5    royalty and lost profits.

 6            199.    Google’s infringement of the ’966 Patent was and continues to be willful and

 7    deliberate, entitling Sonos to enhanced damages.

 8            200.    Google’s infringement of the ’966 Patent is exceptional and entitles Sonos to

 9    attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.
10            201.    Google’s infringement of the ’966 Patent has caused irreparable harm (including

11    the loss of market share) to Sonos and will continue to do so unless enjoined by this Court.

12                   CLAIM IV: INFRINGEMENT OF U.S. PATENT NO. 10,848,885

13            202.    Sonos incorporates by reference and re-alleges paragraphs 1-201 of this Amended

14    Complaint as if fully set forth herein.

15            203.    Google and/or users of the Google Wireless Audio System have directly infringed

16    (either literally or under the doctrine of equivalents) and continue to directly infringe one or more

17    of the claims of the ’885 Patent, in violation of 35 U.S.C. § 271(a), by making, using, offering for

18    sale, and/or selling the Google Wireless Audio System within the United States and/or importing

19    the Google Wireless Audio System into the United States without authority or license.
20            204.    In the course of this litigation, Sonos has served Google with infringement

21    contentions detailing Google’s infringement of the ’885 Patent. See Ex. CH; Ex. CL. In

22    particular, as set forth in Sonos’s infringement contentions for the ’885 Patent, Google’s Cast-

23    enabled media players are provisioned with software enabling a “speaker group” feature such that

24    each limitation of at least one of the asserted claims of the ’885 Patent is satisfied. For the

25    avoidance of doubt, Sonos incorporates herein by reference under Rule 10(c) these infringement

26    contentions for all purposes.

27            205.    On January 8, 2021, Sonos provided Google with a draft of Sonos’s First

28    Amended Complaint prior to its filing. That draft identified the ’885 Patent and described how

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        62                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA            Document 211          Filed 07/08/22    Page 64 of 74



 1    Google’s products infringed. Thus, Google had actual knowledge of Sonos’s allegation that

 2    Google infringed claims of the ’885 Patent prior to Sonos filing the amended complaint in this

 3    action.

 4              206.   Additionally and/or alternatively, Google has indirectly infringed and continues to

 5    indirectly infringe one or more of the claims of the ’885 Patent, in violation of 35 U.S.C.

 6    § 271(b), by actively inducing users of the Google Wireless Audio System to directly infringe the

 7    one or more claims of the ’885 Patent. In particular, (a) Google had actual knowledge of the ’885

 8    Patent and Sonos’s infringement contentions, or was willfully blind to their existence, no later

 9    than January 8, 2021 when Sonos provided Google with a copy of the First Amended Complaint,
10    (b) Google intentionally causes, urges, or encourages users of the Google Wireless Audio System

11    to directly infringe one or more claims of the ’885 Patent by promoting, advertising, and

12    instructing customers and potential customers about the Google Wireless Audio System

13    (including uses thereof) and encouraging such customers and potential customers to engage in

14    activity that constitutes direct infringement (see Exs. U-V), (c) Google has continued to

15    intentionally cause, urge, or encourage users of the Google Wireless Audio System in such a

16    manner both since becoming aware of the ’885 Patent and since Sonos told Google that this

17    conduct was inducing infringement on February 17, 2021, (d) Google knows (or should know)

18    and has known (or should have known) that its actions will induce users of the Google Wireless

19    Audio System to directly infringe one or more claims the ’885 Patent, and (e) users of the Google
20    Wireless Audio System directly infringe one or more claims of the ’885 Patent.

21              207.   For example, at a minimum, Google has supplied and continues to supply the

22    Cast-enabled media players to customers while knowing that use of these products will infringe

23    one or more claims of the ’885 Patent and that Google’s customers then directly infringe one or

24    more claims of the ’885 Patent by using the Cast-enabled media players in accordance with

25    Google’s product literature. See, e.g., id. In other words, Google specifically intends to induce

26    its customers to infringe the’885 Patent by intentionally encouraging and instructing its customers

27    to use the Cast-enabled media players, including the use of the accused speaker-group feature,

28

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        63                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22    Page 65 of 74



 1    which constitutes direct infringement. Example evidence of such conduct can be found at

 2    paragraph 174.

 3           208.      As another example, at a minimum, Google has supplied and continues to supply

 4    software (e.g., firmware updates) for installation onto Cast-enabled media players to customers

 5    while knowing that installation of this software will infringe one or more claims of the ’885

 6    Patent and that Google’s customers then directly infringe one or more claims of the ’885 Patent

 7    by installing the software. In other words, Google specifically intends to induce its customers to

 8    infringe the ’885 Patent by intentionally encouraging and instructing its customers to install such

 9    software onto their Cast-enabled media players. When users install such software, including
10    firmware updates, these users make an infringing device pursuant to § 271(a) and thus commit

11    direct infringement of the ‘855 Patent. Example evidence of such conduct includes:

12

13

14

15

16

17    Ex. CN.

18

19
20

21

22

23    Ex. CO.

24           209.      As yet another example, at a minimum, Google has supplied and continues to

25    supply the Cast-enabled media players to distributors (e.g., Best Buy, Walmart, etc.) that then sell

26    or offer to sell the Cast-enabled media players while knowing that selling and offering to sell the

27    Cast-enabled media players infringes one or more claims of the ’885 Patent and that Google’s

28    distributors then directly infringe one or more claims of the ’885 Patent by selling and offering to


                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       64                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22    Page 66 of 74



 1    sell the Cast-enabled media players . In other words, Google specifically intends to induce its

 2    distributors to infringe the ’885 Patent by intentionally encouraging and instructing its

 3    distributors to sell or offer to sell Cast-enabled media players. Example evidence of such conduct

 4    includes:

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17    Ex. CV.
18           210.    Google has continued to engage in the conduct described above by way of
19    example since it became aware of the ’885 Patent and since Sonos informed Google in Sonos’s
20    February 17, 2021 infringement contentions (and each subsequent instance of amended
21    infringement contentions) that such conduct was inducing others to directly infringe the ’885
22    Patent. Google chose not to cease its conduct despite this. Thus, Google has engaged in this
23    conduct with the specific intent to infringe the ’885 Patent because this conduct was expressly
24    intended to encourage users to use the Cast-enabled media players, users to install firmware
25    updates onto Cast-enabled media players thus constituting making an infringing device, and
26    distributors to sell and offer to sell Cast-enabled media players – the very actions that result in
27    direct infringement of the ’885 Patent.
28

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        65                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22    Page 67 of 74



 1           211.    Additionally and/or alternatively, Google has indirectly infringed and continues to

 2    indirectly infringe one or more of the claims of the ’885 Patent, in violation of 35 U.S.C.

 3    § 271(c), by offering to sell or selling within the United States, and/or importing into the United

 4    States, components in connection with the Google Wireless Audio System that contribute to the

 5    direct infringement of the ’885 Patent by users of the Google Wireless Audio System. In

 6    particular, (a) Google had actual knowledge of the ’885 Patent and Sonos’s infringement

 7    contentions, or was willfully blind to their existence, no later than January 8, 2021 when Sonos

 8    provided Google with a copy of the First Amended Complaint, (b) Google offers for sale, sells,

 9    and/or imports, in connection with the Google Wireless Audio System, one or more material
10    components of the invention of the ’885 Patent that are not staple articles of commerce suitable

11    for substantial non-infringing use, (c) Google knows (or should know) that such component(s)

12    were especially made or especially adapted for use in an infringement of the ’885 Patent, and

13    (d) users of devices that comprise such material component(s) directly infringe one or more

14    claims of the ’885 Patent. For instance, at a minimum, Google offers for sale, sells, and/or

15    imports software updates for the Chromecast-enabled media players that meet one or more claims

16    of the ’885 Patent. See, e.g., Ex. AO. These software updates are material components of the

17    Chromecast-enabled media players that meet the one or more claims of the ’885 Patent. Further,

18    Google especially made and/or adapted these software updates for installation and use on the

19    Chromecast-enabled media players that meet the one or more claims of the ’885 Patent, and these
20    software updates are not staple articles of commerce suitable for substantial non-infringing use.

21    Google’s customers then directly infringe the one or more claims of the ’885 Patent by installing

22    and using software updates on the Chromecast-enabled media players.

23           212.    More specifically, Google supplies software components, such as firmware

24    updates, that include the accused speaker-group feature as part of software updates for Cast-

25    enabled media players in the United States, and each time a user installs such a firmware update,

26    the user “makes” an infringing device and thereby directly infringes claims 1-3, 5-10, 12-14 of

27    the ’885 Patent under 35 U.S.C. § 271(a). The software components included in the firmware

28    updates are material components of Cast-enabled media players that are not staple articles or

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       66                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211         Filed 07/08/22    Page 68 of 74



 1    commodities of commerce suitable for substantial non-infringing use because the only possible

 2    use for these software components is to be installed and run on infringing Cast-enabled media

 3    players. In other words, there is no other reasonable, suitable, or even conceivable use for these

 4    software components other than to be downloaded to and installed on Cast-enabled media

 5    players. Because the asserted claims are directed to capability and not actual use or performance,

 6    actual execution of software functionality is not required. Infringement occurs as soon as the

 7    software component is downloaded to and/or installed on the Cast-enabled media player. Thus,

 8    the fact that the Cast-enabled media player may be capable of carrying out non-infringing

 9    functionality (in addition to being capable of carrying out the claimed functionality) does not
10    negate infringement and is not a non-infringing use because infringement has already occurred as

11    a result of the download and/or installation of the software component onto the Cast-enabled

12    media player.

13           213.     Along with its actual knowledge of the ’885 Patent, Google knew (or should have

14    known) that the software components included in the firmware updates were especially made or

15    adapted for installation on infringing Cast-enabled media players and that installation of these

16    software components by others resulted in (and continues to result in) direct infringement of

17    the ’885 Patent under 35 U.S.C. § 271(a) because each such installation “makes” an updated

18    Cast-enabled media player that meets every element claims 1-3, 5-10, 12-14 of the ’885 Patent.

19           214.     Additionally and/or alternatively, as discussed before, Google supplies a software
20    component feature (i.e., the accused speaker-group feature as part of the Cast-enabled media

21    player’s firmware) in the United States via software downloads. This software component feature

22    is a material component of infringing devices and is not a staple article or commodity of

23    commerce suitable for substantial non-infringing use because the only possible use for this

24    software component feature is to be operated on infringing Cast-enabled media players. Along

25    with its actual knowledge of the ’885 Patent, Google knew (or should have known) that the

26    software component feature was especially made or adapted to perform specific functions that are

27    a material part of the inventions of the ’885 Patent and that use of this software component

28

                                                                            SONOS’S THIRD AMENDED COMPLAINT
                                                      67                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA          Document 211          Filed 07/08/22    Page 69 of 74



 1    feature by others involved (and continues to involve) a direct infringement of the ’885 Patent

 2    under 35 U.S.C. § 271(a).

 3           215.    Moreover, as a result of Google’s contributory conduct, others have directly

 4    infringed the asserted claims of the ’885 Patent. For example, users have installed the supplied

 5    software components included as part of the firmware updates onto Cast-enabled media players in

 6    the United States, thereby “making” updated Cast-enabled media players, which constitutes direct

 7    infringement. As another example, after installing the software components included as part of

 8    the firmware updates onto Cast-enabled media players, users have used Cast-enabled media

 9    players, including the use of the accused speaker-group feature, which also constitutes direct
10    infringement of the asserted claims.

11           216.    Pursuant to 35 U.S.C. § 271(f)(1), Google has also infringed by supplying in or

12    from the United States software and/or firmware components, which constitute substantial

13    portions of the components of Sonos’s patented inventions, and actively, knowingly, and

14    intentionally induced (and continues to actively, knowingly, and intentionally induce) others

15    outside of the United States to combine these software and/or firmware components in a manner

16    that, if such combination would have occurred in the United States (as it does pursuant to the

17    theories set forth above), infringes the asserted claims of the ’885 Patent. And these

18    combinations by those outside of the United States do in fact occur. Accordingly, by supplying

19    such software and/or firmware components from the United States, Google is liable for
20    infringement under 35 U.S.C. § 271(f)(1).

21           217.    Despite knowing of the ’885 Patent, Google supplies from the United States

22    software components for performing the accused functionality as part of firmware updates for

23    accused media players. Google then through Google’s website, advertising and promotional

24    material, user guides, the Google Home app (among other apps offered by Google), and/or the

25    Google Play Store, Google has actively, knowingly, and intentionally encouraged and induced

26    (and continues to actively, knowingly, and intentionally encourage and induce) others outside the

27    United States to install firmware updates onto accused media players outside the United States. If

28    this combination were done within the United States, that act would constitute “mak[ing]” or

                                                                            SONOS’S THIRD AMENDED COMPLAINT
                                                      68                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22     Page 70 of 74



 1    “us[ing]” an infringing device, which constitutes direct infringement of the asserted claims of the

 2    ‘885 Patent under 35 U.S.C. § 271(a). See, e.g., Ex. CU

 3    (https://support.google.com/store/answer/2462844?hl=en, indicating the countries in which

 4    Google’s media players can be purchased and operated and thus, the countries in which Google

 5    encourages its users to install firmware updates to the media players).

 6           218.    As another example, through Google’s relationship with third-party manufacturers,

 7    third-party distributers, or via an otherwise affiliated entity that acts in a manufacturer or

 8    distributor role, Google actively, knowingly, and intentionally encourages and induces or

 9    instructs such parties to, outside of the United States, install or load firmware onto Cast-enabled
10    media players. If this combination were done within the United States, that act would constitute

11    “mak[ing]” an infringing device, which constitutes direct infringement of claims 1-3, 5-10, 12-14

12    of the ’885 Patent under 35 U.S.C. § 271(a).

13           219.    On information and belief, Google engages in the same conduct set out above

14    (with respect to Google’s infringement under § 271(b)) in foreign countries and with the intent to

15    encourage users in foreign countries to download and install firmware updates onto Cast-enabled

16    media players in those countries.

17           220.    Pursuant to 35 U.S.C. § 271(f)(2), Google has also infringed by supplying

18    software components in or from the United Sates to be combined, installed, loaded, and/or used

19    by others outside of the United States, where these software components are components of the
20    patented inventions that have no substantial non-infringing use and are not staple articles or

21    commodities of commerce – with knowledge that these software components were especially

22    made or adapted for use and an intent that these software components would be combined,

23    installed, loaded, and/or used outside the United States such that, if such combination,

24    installation, load, and/or use occurred within the United States (as it does pursuant to the theories

25    set forth above), it would infringe the asserted claims of the ’885 Patent. And these combinations

26    by those outside of the United States do in fact occur. Accordingly, by supplying such software

27    components in or from the United States, Google is liable for infringement under 35 U.S.C. §

28    271(f)(2).

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        69                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211           Filed 07/08/22    Page 71 of 74



 1           221.    Despite knowing of the ’885 Patent, Google supplies in or from the United States

 2    software components for performing the accused functionality as part of firmware updates for

 3    accused media players, and users install such a firmware update outside of the United States in a

 4    manner that, if done within the United States, would constitute “mak[ing]” an infringing device

 5    and thereby directly infringe claims 1-3, 5-10, 12-14 of the ’885 Patent under 35 U.S.C. § 271(a).

 6    The software components included in the firmware updates are material components of the

 7    patented invention that are not staple articles or commodities of commerce suitable for substantial

 8    non-infringing use because the only possible use for these software components is to be installed

 9    and run on accused media players, which constitute infringing devices.
10           222.    Along with its actual knowledge of the ’885 Patent, Google knew (or should have

11    known) that the software components included in the firmware updates were especially made or

12    adapted for installation on accused media players, and that installation of these software

13    components by others outside the United States would, if done within the United States, have

14    resulted in (and continues to result in) direct infringement of the ’885 Patent under 35 U.S.C. §

15    271(a) because each such installation “makes” an updated player that meets every element of

16    every asserted claims.

17           223.    Moreover, as a result of Google providing such firmware updates others have

18    outside of the United States combined the firmware updates in a manner that, if done within the

19    United States, would constitute direct infringement of claims 1-3, 5-10, 12-14 of the ’885 Patent.
20    For example, users have, outside of the United States, installed the supplied software components

21    included as part of the firmware updates onto accused media players outside the United States,

22    which if done within the United States would constitute “making” updated Cast-enabled media

23    players, which constitutes direct infringement.

24           224.    As another example, Google provides firmware to manufacturers, third-party

25    distributers, or an otherwise affiliated entity that acts in a manufacturer or distributor role, who

26    then, outside of the United States installs or loads such firmware onto accused media players. If

27    this combination were done within the United States, that act would constitute “mak[ing]” an

28

                                                                              SONOS’S THIRD AMENDED COMPLAINT
                                                        70                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22     Page 72 of 74



 1    infringing device, which constitutes direct infringement of claims 1-3, 5-10, 12-14 of the ’885

 2    Patent under 35 U.S.C. § 271(a). See also Ex. CH (Sonos’s infringement contentions).

 3             225.   Sonos has identified additional evidence of Google’s inducing conduct in its

 4    infringement contentions and interrogatory responses, which Sonos incorporates herein by

 5    reference under Rule 10(c) for all purposes. See Exs. CH, CW.

 6             226.   Google’s infringement of the ’885 Patent is also willful because Google (a) had

 7    actual knowledge of the ’885 Patent and actual knowledge of Sonos’s infringement contentions

 8    no later January 8, 2021 when Sonos provided Google with a copy of the Amended Complaint,

 9    (b) engaged in the aforementioned activity despite an objectively high likelihood that Google’s
10    actions constituted infringement of the ’885 Patent, and (c) this objectively-defined risk was

11    either known or so obvious that it should have been known to Google. See, e.g., ¶¶ 17-30, 53-65,

12    above.

13             227.   Given the five-year period over which Sonos put Google on consistent and

14    repeated notice of Sonos’s patents and the breadth of Sonos’s patent portfolio concerning

15    specifically the products accused in this case, detailed above, this knowledge establishes that

16    Google was, for some time periods, at least willfully blind to the fact that the ’885 Patent existed

17    and, for other time periods, had actual knowledge of the ’885 Patent. Further, this knowledge and

18    repeated and persistent disclosure establishes that Google, for some time periods, had at least

19    failed to investigate whether it infringed the ’885 Patent despite the existence of a high risk of
20    infringement and, for other time periods, had actual knowledge of a credible and specific

21    allegation of infringement of the ’885 Patent.

22             228.   Additional allegations regarding Google’s pre-suit knowledge of the ’885 Patent

23    and willful infringement will likely have evidentiary support after a reasonable opportunity for

24    discovery.

25             229.   Sonos is entitled to recover from Google all damages that Sonos has sustained as a

26    result of Google’s infringement of the ’885 Patent, including, without limitation, a reasonable

27    royalty and lost profits.

28

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       71                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA           Document 211          Filed 07/08/22    Page 73 of 74



 1           230.    Sonos is in compliance with any applicable marking and/or notice provisions of 35

 2    U.S.C. § 287 with respect to the ‘885 Patent.

 3           231.    Google’s infringement of the ’885 Patent was and continues to be willful and

 4    deliberate, entitling Sonos to enhanced damages.

 5           232.    Google’s infringement of the ’885 Patent is exceptional and entitles Sonos to

 6    attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.

 7           233.    Google’s infringement of the ’885 Patent has caused irreparable harm (including

 8    the loss of market share) to Sonos and will continue to do so unless enjoined by this Court.

 9                                          PRAYER FOR RELIEF
10           WHEREFORE, Sonos respectfully requests:

11           A.      That Judgment be entered that Google has infringed at least one or more claims of

12                   the patents-in-suit, directly and/or indirectly, literally and/or under the doctrine of

13                   equivalents, and that such infringement is willful;

14           B.      An injunction enjoining Google, its officers, agents, servants, employees and

15                   attorneys, and other persons in active concert or participation with Google, and its

16                   parents, subsidiaries, divisions, successors and assigns, from further infringement of

17                   the patents-in-suit.

18           C.      An award of damages sufficient to compensate Sonos for Google’s infringement

19                   under 35 U.S.C. § 284, including an enhancement of damages on account of
20                   Google’s willful infringement;

21           D.      That the case be found exceptional under 35 U.S.C. § 285 and that Sonos be awarded

22                   its reasonable attorneys’ fees;

23           E.      Costs and expenses in this action;

24           F.      An award of prejudgment and post-judgment interest; and

25           G.      Such other and further relief as the Court may deem just and proper.

26

27

28

                                                                             SONOS’S THIRD AMENDED COMPLAINT
                                                       72                    CASE NO. 3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA             Document 211           Filed 07/08/22     Page 74 of 74



 1                                       DEMAND FOR JURY TRIAL

 2            Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Sonos respectfully demands

 3    a trial by jury on all issues triable by jury.

 4

 5    Dated: July 8, 2022                              By: /s/ Cole B. Richter
 6                                                                 Clement Seth Roberts
                                                                        Bas de Blank
 7                                                                     Alyssa Caridis
                                                                      Evan D. Brewer
 8
                                                       ORRICK, HERRINGTON & SUTCLIFFE LLP
 9
                                                         Sean M. Sullivan (admitted pro hac vice)
10                                                         Rory P. Shea (admitted pro hac vice)
                                                         J. Dan Smith, III (admitted pro hac vice)
11                                                        Cole B. Richter (admitted pro hac vice)
                                                         Michael P. Boyea (admitted pro hac vice)
12                                                          Jae Y. Pak (admitted pro hac vice)
13                                                       LEE SULLIVAN SHEA & SMITH LLP
14                                                               Attorneys for Plaintiff Sonos, Inc.
15

16

17

18

19
20

21

22

23

24

25

26

27

28

                                                                                SONOS’S THIRD AMENDED COMPLAINT
                                                          73                    CASE NO. 3:21-CV-07559-WHA
